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F\L\=_Dv\llii\i

medium Mark Christg)her Kaley

 

Hld Nln¢ Nidme Nlll:

 

 

 

 

DeblorZ JAN 3 o 2013
(Spousel l filing) Firx Name male N¢ne
PTCY,
Un'rled Si.elee Benkruplcy Courl for lhe~. M`lddle Disd‘ict of Florlda CLE()R§LR€D§A[')\:CFS\|JON
Case numbe, 19-00329-6A7 El check ifthis is an
l" K"°W'“ amended filing

Official Form 1063um
Summary of ¥our Assets and Llabi|itles and Certain Statistical lnformation 12/15
Be as complete and accurate as possible. ll‘ two married people are ming logether. both are equally responsible for supplying correct

informalion. Fill out all of your schedules lirst; then complete the information on this form. lf you are ming amoco schedules alter you tile
your original lorms, you must fill out a new Summary and check the box at the top of this page.

 

 

 

 

 

Vourlssets,. ,/ f
Valm of what you own ,
1. Schedule A/B.' Property (Official Form 106A/B)
1a. Copy line 55, Tola| real estate, from Schedule A/E ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,, ,, $M
1b. Copy line 62, Total personal property, from Schsdule A/B ............................................................................................... 3 3.505.00
lc. Copy line 63, Total of all properly on Schedule A/B ......................................................................................................... s 353’505.00
mummarlze ¥our l.iabllltles
rower
:Amount you owe
2. Schedule D.' Creditors Who Have Claims Secured by Praperty (Otlicial Form 106D) 1 2 7 77
Za. Copy the total you listed in Co|umn A, Amoun! af claim, al the bottom of the |asi page of Pari 1 of Schedule D ............ 3 _’Q__.§’§s_‘
3. Schedule E/F: Creditors Who Have Unsscured C/aims (OTlicia| Form 106E/F) 0 00
3a. Copy the total claims from Parl ‘l (priorily unsecured claims) from line Ge of Schedule E/F ............................................ s ---_-+

3b. Copy the total claims from Part 2 (nonpriorlty unsecured claims) from line 61 of Schedule E/F ....................................... + s 107687_77

 

 

 

 

 

Vour total liabilities $ 1’037’274'77

mummadze ¥our lncomo and Exponsoo
4. Scheduie l.' Your/noome (Ol'Hciai Forrn 106|) 2 314 00
Copy your combined monthly income from line 12 of Schedu/el .......................................................................................... s _’_'-_

5. Schedu/e J: Your Expenses (Qflicla| Form 106J)
Copy your monthly expenses from line 22c of Schedule J .......

 

$ 5,675.00

 

 

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De,,,m Mari< christopher haley ease numbe,(,.,km 19-00329-5/-\/

Fk¢ Name Midde Nll\e La¢ N.ne

m Answor Thooo Qu“dons for Mmlnistr¢thro and Statistical Rooorlls

 

6. Are you tiling for bankruptcy under Chapters 1, 11. or 13?

g Yes

Cl No. You have nothing to report on this part of the form. Cheok this box and submit this form to the court with your other schedules

 

7. What kind of debt do you have?

this form to the court with yourother schedules

g Your debts are primarily consumer debts Cansumsr debts are those “incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101 (B). Fill out lines B-Qg for §atistlcal purposes 28 U.S.C. § 159.

g Your debts are not primarily consumer debts Vou have nothing to report on this part of the fonn. Check this box and submit

 

Form 122A»1 Line 11; OR, Form 1225 Line 11; OR, Form 1220-1 Line14.

8. From the Statement of Vour Current Monthly Income: Copy your total current monthly income from thcial

 

5 2,465.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedu|o E/F:

`Fmeansm smeao¢pym mmr-or
Qa. Domestic support obligations (Copy line Sa.)
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.)
90. Claims for death or personal injury while you were intoxicated (Copy line 6c.)

Qdi Student loans. (Copy line Gl'.)

Se. Obllgations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line Gg,)

9f. Debts to pension or pmm-sharing plans, and other similar debts. (Copy line Sh.)

 

Qg. Tol£al. Add lines 9a through 91

' routehim

 

 

, 0.00
5 0.00
s 0.00
, 0.00
s 0.00
"' $___§-_OQ
, 0.00

 

 

 

 

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Fill in this irilriiiiiatli:.\ii iii identity wm ¢:.'i~v and tins lilmti_

umw Mark Christopher Kaley

Hl'¢ NE||! Mddle thlo

Debtor 2
(Spouse, if li|lng) ina Nm\n Mda\e Numi usa Nama

 

Unled States Bankruptcy Court for lhe: Midd|e Dlsttict cf FlOl'lda
19-00329-6A7

Case number

 

El check innis is an
amended filing

 

 

Official Form 106A/B
Schedu|e Ale Property 12/15

|n each category, separately list and describe items. List an asset only once. tf an asset its in more than one category, list the asset in the
category where you think it its best Be as complete and accurate as possible. lftwo married people are liling together, both are equally
responsible for supplying correct information. lt more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case nwnber (it known). Answer every question.

mossch Eaclr Rocldonco, Bul|d|ng, Land, or Odior hal Eshh You own or tim all lntomt ln

1. Do you own or have any legal or equitable interest in any residence, building. land, or similar property? r

El No. com Parl 2.
a Yes. Where is the property?

 

 

 

 

 

gaf is the property? Chaclr all that apply. dowd -.`l` ` smu ` w s m
Single-family norm miamolalil M.bnfsdlbd|li'ni,,
,_,_ 4924 Gaulberry Ftun 1 n n Dup\ex or mum_unk bonding mmp/we cranesenm_bympeny. .'
Stroet address ll available. or other description _ 4 _ `

n C°nd°m""um or cooperative Current value of the Current value ot the

cl Manuraclured or mobile home entire property? portion you own? §

Cl Land $ 350,000.00 5 350,000.00 §

. m lnvestmant property
Vl/inter Garden FL 34787 n Timeshare msan me nature d you ownership §

Crv Swle ZlP C<>de a ome interest ranch as fee simple, tenancy by §

" ____ the entireties, ora life estate), il known.

Who has an interest in the property? Che¢:k une.

Orange l:l Del>rcrl only
Cmmty g Debtor 2 only §

m DBM°' 1 and Debw' 2 amy a Check if this is community property
v At least one of the debtors and another (see m§mctl°ns)

 

 

 

 

 

 

 

 

Other information you wish to add about this itern, such as local
property idennn “ L .

 

Other intormatlon you wish to add about this item, such as local
property identiti " number:
|f you own or have more than one, list here:
What ls the property? Check all thatapply. mud l 1 ';' '/ l i m . _Pd
m Single-tamily home tllo/amburi D¢W M plains pa Schedlls£¥:
112. _ _ ` _ m Duplex or rmlti-unit building mmmcmswhym
' Straet address lt available, or other description _ _ t 7 7
§ m C°"d°m'"'“m °' °°°Pemvve Current value of the Current value ol the
§ El Manufactured or mobile home entire property? portion you own?
l:l l_and 5 5
m investment property
; n Timeshare Describe the nature ol‘ your ownership
: city State zlP code n interest (such as fee simple, tenancy by
~1 °"'°' ____________ the entireties or a tire estalie), if lmown.
Who has an interest in the property? cheek one
l:l Dehwr 1 only
Coumy m Debtor 2 only
§ cl Debtor 1 and Debtor 2 only n Check il this is community property
§ m At least one of the debtors and another (see instructions)

CaS€ 6.19-bk-00329- CC.] DOC 10 Filed 01/30/19 Page 4 Olc 50

1.3.

 

Street address. il available, or other description

 

 

city sale

ZlF Code

 

County

§ 2. Add the dollar value ot the portion you own for all ol your entries from Part 1, including any entries for pages
' you have attached for Part 1. Write that number here.

 

Whit is the property? Check all that appiy.
C| Singie-famiiy home

L_.l Duplex or multiunii building

n Condominium or cooperative

n Manufactured or mobile home

|;| Land

0 lnvestment property

n Tirneshare

n Other

Who has an interest in the property? Checli one.

n Debtor1 only

Cl Debtor 2 only

D Debtort and Debtor 2 only

a At least one of the debtors and another

Bondoadzidsaulmd'dadnorexornp§orlsm
tilaamum¢>fanysauxeddaimsan Wiedids£t:

mims mnmcalmsswmedi>yl>r_npsny.

 

Current value ot the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

n Check il this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identiti " number:

 

s 350,000.00

 

 

 

Part 2: Describe Vour Vo|ricles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? lnclude any vehicles
y you own that someone else drives. lf you lease a vehicle, also report it on Schedule G.' Exeoutory Contracts and Unexpr'red Leases.

3 Cars, vans. trucks, tractors, sport utility vehicles, motorcycles

g No
n Yes

3_1_ Make:
Model:
Year;
Approxiniate mileage:

Other infonnation:

 

 

 

 

lf you own or have more than one, describe here:

3_2_ Make:
Mode|:
Year:
Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check nne.
m Debtor 1 only

U Debror 2 only

a Debtor 1 and Debtor 2 only

a At least one of the debtors and another

n Check if this is corranunity property (see
instructions)

Who has an interest in the property? Chal:k una.
m Debtor 1 only

m Debtcir 2 only

m Debtor 1 and Debwr 2 only

m At least one of the debtors and another

g Check it this is corrInunity property (see
instructions)

 

 

Do natqu salaried clairu~ ur exemptions Put
ina anomtdanyeac`ursd claims on'Solrewh D: z
claude WboHa've Clalras,$ecuiad-by?roparty. §

 

,Donddoductasundoidmsoraxamptions. Put
OredbrsiMioHarie define Ssamad Pmporty.

Current value ot the Current value ol' the
entire property? portion you own?

v
Y

meanvumofmyoeouwddadsonschma

   

Current value of the Current value of the »,
entire property? portion you own? §

 

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3.3_ Make:
Mode|:

 

Vear:
Approximate mileage;

Other information:

 

 

 

 

 

 

3.4. Make:
Mode|:
Yea r:
Approximale mileage:

Other infonnation:

 

 

 

 

 

t 4. Watercraft, aircratt, motor homes. ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft fishing vessels, snowmobiles, motorcycle accessories

No
Cl Yes

4,1, Make:
Mode|:
Year:

Other information.'

 

 

 

 

lt you own or have more than one, list here:
4,2_ Make:

Model:

¥ear:

Other inforrnation;

' 5_ Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

 

 

Who has an interest in the property? Check one.

l;l Debtort only

D Debtor 2 only

D Debwri and Delm>rz only

a At least one of the debtors and another

n Cheok if this ls corrinunlty property (see
instructions)

Who has an interest in the property? Check one.

a Debtort only

n Debtor 2 only

a Dbbtcri and Debtor 2 only

Cl Al least one oflhe debtors and another

a Check if this is corrmunity property (see
instructions)

Who has an interest in the property? Check one.
Cl Debwri only

El Debwr 2 only

m Debborl and Debtorz only

n At least one of the debtors and another

El Check it this is community property (see
instn.lctions)

Who has an interest in the property? Chack ona.
a Debtor1 only

n Debror 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Cher:k ifthis is corrmunity property (see
instructions)

Do nddoduc\ secured claim or exemptions Filt ,
tt\eamurltofanyeeoured,claimsorl$chcdu[e£?. §
Cfadbre whoHave Ctolms$ecuradbyl’mperql.

 

¢urrent value ot the Current value of the :
entire property? portion you own?

 

,. tile Who Haic olsan Seomaa oy’Pmpe¢q/.

Current value of the Current value of the §
entire property? portion you own?

Do notdodcot seemed claims ornampiions.?ut
the annumdnny secured claimon$_lizhsduleb.

   

 

omit/hon diamseowcdbyl’mperty

Current value of the Current value of the

entire property? portion you own?

Donatd¢duatcumedcleimsmmnpnmem
the concludinchqu dawson `$cnodl)`le D:

 

Current value ot the Current value of the
entire property? portion you own?

 

 

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Fart 3: necede Your l'orsonal and llouaol\old items

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§Doyouownorhaveanylagilorequitiblcmaeitinanyolmelo|lowingitcm? § my.°um?
f ~ ' l ` hommel-sewer dave
j z . orcxomptions. j
6. Household goods and fumishings
5 Examples: Major appliancesl fumiture, linens, china, kitchenware
m No _ y
2 Yes. Desorlbe ......... §General Househo|d Good and Furnlshlngs § $ 400_00
7. Electronics
; Examples: Televisions and radios; audio, video, stereo, and digital equipment computers prir\ters, scanners; music
collections; electronic devices including cell phones, cemeras, media players, games
n No
ves. Descrlbe .......... 2 Tube TV, Flat Screen TV, Corrlputer, iPad (1st gen), DVDl VCFt $ 200_00
B. Collectibles ol value
Examp/es: Antiques and tigurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
2 No :
Cl Yes_ oescrlbe __________ 5
,, 9. Equipment for sports and hobbias
` Examples: Sports, photographic exercise. and other hobby equipment bicycles. pool tables, golf clubs_ skis; cenoes
and kayaks; carpentry too|s; musical instruments ' z
a No
a Yes. Describe .......... $ 5
§ 10.Firearrns
l Examples.' Pisto|s, rilles, shotguns ammunition, and related equipment §
No §
n Yes. Describe .......... $
ii.clotl\es :
Examples.' Everyday clothes, fursl leather coats, designer wear, shoes, accessories
m No §
2 Yes. Desl>rlbe .......... Everyday Clothes 1 s 200_00 §
z 12..lewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heinoom jewelry, watches, gems,
go|d, silver j
El No ;

 

 

g Ves.Descn'be .......... §wed!|-n !; ing it ur l t § $ 40.00

13_Non-tarm animals
Examples: Dogs, cats, birds, horses
NO
n Yes. Descrlbe .......... F § $ :

 

 

`. 14.Any other personal and household items you did not already list, including any health aids you did not list

U No
a ‘(es_ Give specific
lnrormalion_ _____________ lawnmower, edger, hand tools, CD, DVD

 

l $ 50.00 ':

 

 

15. Add the dollar value of all ol your entries from part 3, including any entries for pages you have attached s 890_00
for Part 3. Write that number here ')

 

 

 

 

 

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Deecrlbe Your Fln¢nclal hatch

_ , , _ , 1- -. w nw ...a _,

'§ooyouowrr unawanyhgai` orequitableinterestinanyoftheiolowing? ` Currentvelue.otfh¢ ' :‘

§ ~_ ' . » § portion you own? z

` “ Donot enact caused claire
anomalous 1 ' §

§ 16.Cash

§ Examplss: Mcney you have in your wallet in your home, in a sale deposit box, and on hand when you die your petition

U No

l El Yes Cash: $ 5,00 §

 

17. Deposits ot money
` Examples.' Checking, savings, or other hnancial accounts; certihcates of deposit shares in credit unions, brokerage houses,
and other similar institutions lf you have multiple accounts with the same institution, list each.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[;\ No ,
m Yes ..................... institution narne: l
17.1. Checking account Regions (With Spouse) $ 2.600-00
17.2. Checking account: $ :
17.3. Savings account: Regions (With Spouse) $ 0-02 §
17.4. Savings account: 5
17.5. Certifiwtes ot deposit 5
17.6. Othar tinancta| account $ §
17_7 Otharflnancial account $
17.8. Other financial account 3
17.9. other financial account: $
is.Bonds, mutual funds, or publicly traded stocks
Exemples: Bond funds, investment accounts with brokerage tirrns, money market accounts
n NO
l m Yes ................. lnstitution or issuer name: §
Westpark Flnancial (tormerly Newport Coast Securities) $ 10.00
s
; 19. Non-publicty traded stock and in in in- r * and ‘ r busirl including an interest ln
an LLC, partnership, and joint venture
g NO Name ofentity: % of ownership:
m Yes. Give specinc 0% % s
information about 0°/
them ° % s
0% % s

 

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§zo.Gove. ‘and\.v¢,_ ` 4 andother =, and'"‘" ," " ins-

Negotiable instmmsnts include personal checks cashiers' checks, promissory notes, and money orders. ;
Non-negou'abie instruments are those you cannot transfer to someone by signing or delivean them.

a No
m YesA Give specific issuer name;

information about
them ....................... $

 

 

 

21. Retirement or pension accounts
' Examples.' interests in iRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

DNo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2 Yes. l_ist each
account separately Type of account lnsu‘tution name: :

401 (k) or similar pian: $

Pension plan: Disney Wond $

lRA: $

keogh; s

Addi!ionai $

Addi'icnal ‘ $

22. $ecurity deposits and prepayments
Your share 01 all unused deposits you have made so that you may continue service or use from a company z
Examples.' Agreements with landlords, prepaid rent, public utilities (eiectric, gas, water), telecommunications
companies or others
a No
Cl Yes .......................... institution name or individual;
t Elactric! $
Gas: $ 1

H¢lting oi|: $

Secunty deposit on rental unlt: s

Prepaid rent: $

' f s ‘§

Water, $ §

Rented tumiture: $

cher. $ '

23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

ZNo

l;l Yes .......................... issuer name and description: :

 

 

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24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
Z No

n Yes ---------------------------------- inaiiuiion name and description sepaiaieiy iiie ihe records orany imeresis.n u.s.c. § 521 (c)`

 

 

 

25.Trusts, equitable or future intere$s in property (other than anything listed in line 1), and rights or powers
~ exercisable for your benth

ZNo

n Yes. Give specific
information about them.... $

 

 

 

 

 

, 26. Fatents. copyrights, trademarks, trade secrets, and other intellectual property
Exampies: lnternet domain names, websites, proceeds from royalties and licensing agreements

ZNc

U Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Eiulidlng permits, exclusive licenses cooperative association holdings liquor licenses professional licenses

 
 

 

 

 

 

 

No
Cl Yes. Give specific
information about them.... $
§Moneyorpropertyowedwyou? § ` ~ _ _ ’ ~ § cumritvaluaofthe
Do not deduct secured
. plains.crenomptiuns.
1 za.Tax refunds owed to you
a No
\;l \fes. Give specific information Fedem|:
about them, including whether
you already filed the returns Siaie:

d s. .......................
an the tax year Locai:

 

 

 

 

29. Family support
Exemples: Past due or lump sum alimony, spousal support child support maintenance divorce settlement property settlement

ZNo

n Yes. Give specific information..r.........,.

 

A|imony:
Maintananca:
Support:

Dlvoroe settlement

 

 

$€h€i)$$

Pmperty settlement

 

,: 30. Other amounts someone owes you

' Exampies: Unpaid wages, disability insurance payments, disability benetits, sick pay, vacation pay, workers‘ compensation
Bocial Security beneiits; unpaid loans you made to someone else

m No

n Yes. Give specific information.....,.........

 

 

 

 

 

 

 

 

 

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§ 31. lnterests in insurance policies
Examples: i-iealth, disabliity, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
m Yes' Name the insurance °?mpany Companiy namet Bononciary: Surrender or refund value:
of each policy and list its value.
$
$
$
l 32. Any interest in property that is due you from someone who has died
' if you are the beneliciary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died
No
n Ves. Give specific inforrriation...,.........,
$
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insure rice claims, cr rights to sue
a No
cl Yes. Describe each claim. l !
$
34. Other contingent and unliquidated claims of every nature, including counterclaim of the debtor and rights
to set off claims
a No
El Yes. Describe each claim. L 1
$
35.Any financial assets you did not already list
2 No
i;l Ves. Give specific information_._......... s
36. Add the dollar value ot all of your entries from Part 4, including any entries for pages you have attached
for Pari 4. write that number here -) s 2515-09

 

 

 

 

 

 

 

m Doocrit»o Any Businno-Rolatod Proporty You own or I\Iave an lntonst ln. List any mt estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
2 No. co lo Pan 6.
Ei Yes~ co to line 38.

 

 

current valued the

z poition you~own? ' y
Do mt deductsecured claims §

_ presumptions

aa.Accounts receivable or commissions you already earned

' [;l No

n Yes, Describe.......

, $

39. Oftice equipment, fumishings, and supplies

: ' ""~“ s, 1 * ,. ' mpiera, tax mchinu, rugs, telephonos, desks, chaira, electronic devices

 

n No
n Yes. Describe .......

 

 

 

 

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5 40. Machinery, tixtures, equipment, supplies you use in business, and tools ot your trade

 

 

 

m No
El Yes. Describe....... $
§
41.|nventory
b a No
El Yes. Descnbe....... s

 

 

 

424|nterests in partnerships or joint ventures

n No

Cl Yes. Des¢ribe ,,,,,,, Name of ant-nyc % or ownership;
% $
%
% $

 

w

 

 

' 43.Customer lists. mailing lists, or other compilations
n No
n ¥es. Do your lists include personally identiliable information (as defined in 11 U.S.C. § 101 (41A))?
g No
El ves. Describe........

 

 

 

 

44.Any business-related property you did not already list
` a No
l;l Yes. Give specific

 

 

information .........

 

 

 

 

69$$§9€£€8

 

 

45. Add the dollar value ot atl of your entries from Part 5, including any entries for pages you have attached s
for Part 5. Write that number here ')

 

 

 

Doscrlbo Any Faml- and Commordll thlng-l\olahd Pmporty ¥ou own or Have an lrrtenst ln.
lf you own or have an interest in famland, list it in Part 1.

 

46. Do you oan or have any legal or equitable interest in any lami- or commercial fishing-related property?
U No. Goto Pan 7.
0 Yes. Go to line 47.
current valueiot.ttre
portion you 'own?
be na summed mims
l orexemptbns.
§ 47. Farm animals
` Examples: Livestock, poultry, farm-raised hsh

a No
n Yes ..........................

 

 

 

 

 

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" 4s.Crops-either growing or harvested

clNo

\;l Yes. Give speoitic
information......»....,, $

 

 

 

49.Farm and tishing equiprnent, implements, machinery, tixtures, and tools of trade
n No
n Yes

 

 

 

` So.Farm and fishing supplies, chemicals. and feed

Cl No
D Ves...

 

 

 

 

51.Any tarm- and commercial fishing-related property you did not already list
l:l No

cl Yes. Give specific z
information............. $ '

 

 

 

 

 

52. Add the dollar value of all or your entries from Part 6, including any entries for pages you have attached
tor Part 6. erte that number here ..

 

 

 

 

 

 

Part 7= Doscribe All l'roporty You lei or Havo ali lntorost iii That \'ou bid Not Llst Abovo

 

§ sa. no you have oiher property or any kind you did not already lisr?
Exemplee: Seoeun ticketsv country club membership

a No ~;
n Yes. Give specific `
information.............

54.Add the dollar value of all ot your entries from Part 7. Write that number here -) l $

 

 

 

 

 

 

m Liet the Totals of Eacli Fali of this Form

 

 

 

 

 

 

 

 

 

55. Pan 1: Toral real estate line 2 ..) s 350.000.00

56. Part 2: Total vehicles, line 5 $ 0-00 ¥ m >W n HM

51_ Part 3: Toial personal and household iiarns, line 15 s 890‘00
58.Part4: Total nnancial assets, line 36 $ 21615~00 4
59. Part 5: Total business-related property, line 46 $ 0-00

so. Part s: Toial rarm- and lishlng-relaiod propeny, line 52 s O-OO

61. Part 7: Toial other properly not listed, line 54 -i- $ 0.00

62.Tntal personal property. Add lines 56 through 61. .................... $ 3’505'00 Copy personal properry total -) + $ 3,505.00 l
63. Total of all property on Schedule NB. Add line 55 + line 62 .......................................................................................... $ 353’505'00

 

 

 

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Flil ill this irit<_)rlli.ltii)li tri lileiilit\,i ,…ilr i rise

Der,k,,r Mark Christopher Kaley

F\r¢ N¢ne Midde Name

Debtor 2
(&)ouse, ii ti|ing) Hrs Name Mlclde Name

 

United States Bankruptcy Caurt for the;Midd|B DiStric:t of F|Orida

case number 19`00329‘5"\7 Cl checkifthis is an
("""°‘”") 7 amended filing

 

Official Form 106C
Schedule C: The Property ¥ou Claim as Exempt ours

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct infonnation.

Using the property you listed on Schedule A/B.' Property (Oflicial Form 106A/B) as your source. list the property that you claim as exempt |f more
space is needed, fill out and attach to this page as many copies of Part 2: Addl'lional Page as necessary On the top 01 any additional pages, write
your name and case number (if known).

 

For each item of property you cla'm as exempt. you must specify the amount ot the exemption you claim. One way of doing so is to state a
specihc dollar amount as exempt. Altematively, you lriay claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions~such as those tor health aids, rights to receive certain benefits. and tax-exempt
retirement funds-may be unlimited in dollar amount. Howeimr, it you claim an exemption ot 100% of fair miliet value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify die Froperty Vou claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if yaurspousa is filing with you.

n You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
Cl You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/Bthat you claim as exemptl iill in the infom\ation below.

Brlel‘ description of the property and line on current value efthe Ariiourit ar the newton you ciailir ` $pecii'ic laws th¢tallow exemption

 

 

 

Schod'ule 418 diet lists this property portion you mm

Gopy the value from Clleck unity one boxforeacli exemption

sometime ~ y t
§j§;dp“on: 14 24 Fi n $350,000.00 21 $ 680,000.00 ,':'[ 3;1“22;'[;11%§2";;
Une from El ioo% or fair market value up to 1 ` '
Schedu/e A/B_. 1.1 any applicable statutory limit
§;'§;dpu°m H id o r $400.00 21 s 1 ,000. 00 tit §§'1‘$§~2;“;;° Se° 4
Line from U 100% affair market value, up to j `
Schedu,e A/B: B_._ any applicable statutory ||mit 7 7 7 77
§;‘§cfnph.°m §iogirgnig§ 5200.00 21 $ 1,000.00 it §gt‘$zté;\gs‘° Se° 4
Line nom n 100% of fair market value, up w ' `
Schedu,e A/B; 1 any applicable statutory limit

3. Are you claining a homestead exemption ot more than $160,375?
(Sub|ect to adjustment on 4/01/19 and every 3 years after that for cases died on or alter the date of adjustment.)

g No
g Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

n No
, , ,';.LX€§ , ,, ,

Case 6:1/%;¢&0@/§5§7-0%& D@qcbézo Filed 01/30/19 the@;,¢l$@j¢,§,% 31

F|§ Name

M`lide Name

Additional Fage

l Brief description lot the propriety and line

LastNlno

Cimontvalueofth¢ v Amountoith¢ax¢mption youclaim

 

 

 

 

MimM-am§mmn '

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f on Schodute ArB that tim this property portion you own 7 7 7 7
l ' i l ` ` domain valuatiom ` cheekongrpnaooxlorauboxemp#on
schwartz _ ’ ,7 ' b 7

Brief FL Const. Art 10 SSC 4
description C'°"‘ 5 3 200-00 W $ 1900-00 FL Srai 222.25
Line from 11 El 100% of fair market value, up to
Schadu/g A/B; any applicable statutory limit
Brief FL Const. Art 10 Sec 4
description: lew-elm $ 40'00 q 5 1’000'00 FL Stat 222.25
Line from l;] 100% of fair market value, up to
Schedu/e A/B; 12_ any applicable statutory limit

- FL Corr"."Arri 4
g::;rrptr°rr O“‘°' $ 5°~°° M$ 1'°°°'°° FL Siatsztzz.zso Sec

. n 100% of fair market value, up to
§::ef¢;:l: A/s.~ L any applicable Slalulorv limit
” " """" FL Corrsr. Ari 10" 04
§§§Lrprran: Ba"" A°°‘ ’ W§S§ $ 2500-00 U$ FL Sia1222.25; 2§§.11
Line from 17 EI 100% offair market value, up to (wggs) and 222_22 (ed_gxp)
Schedule A/B: any applicable statutory limit __________
Brief pen i n FL Const. Art 10 Sec 4
description: 80 $ m $ FL Sfat 222.25; FL 3th
Line from Cl 100% affair market value, up to 222_21 (Expempt Pension)
Schedu/e A/B_' L_ any applicable statutory limit _________
Brief
description; $ a $
Line imm n 100% otfair market value, up to
S¢;hgdu/e A/B_» _' any applicable statutory limit
Brief
description $ n $
Line from El 100% affair market value, up fo
Schedu/e A/B; any applicable statutory limit
Brief
description: 3 l;l $
Line from m 100% of fair market value, up to
schedule A/B; _. any applicable statutory limit
Brief
description: $ n $
Line from n 100% of fair market value, up to
Schedu/e A/B_~ _ any applicable statutory limit
Brief
description: 3 m $
Line from D 100% or fair market value, up w
Schedu/e A/B_- any applicable statutory limit
Brief
description: $ n $
Line from l:l 100% affair market value, up to
Schedu/e A/B; _ any applicable statutory limit
Briet
description: $ l:l $
Line from n 100% offair market value, up to

Schodula A/B:

any applicable statutory limit

 

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Fill m this lm'c:)rmatlt,»n 10 it:lc=nlil',.' ~,»t)tti l dev

mawa Mark Christopher Kaley

 

 

 

Rm Nzl\‘ Midd¢ Nam.
Debtor 2
(Spouse, it tiling) m mm Mtoe¢ N\mn
united states Ban\mtpwy cum fm ms Midute olsth of Flomta §§
19-00329-6A7
ca be . . _
nrsz r Cl Check if this is an

 

 

amended filing

Official Form 1060
Schedule D: Croditors Who Have Claims Socured by Proporty 12115

Be as complete and accurate as possibte. lftwo married people are filing together, both are equally responsible for supplying correct
information lt more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case ntmber (if known).

1. Do any creditors have claims secured by your property?
a No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this forrn.
g Yes. Fill in all of the information below.

m usi Att secured chtms

z Listdlseemedclalns. ltac¢edorhasmoretmnonesectredelaim llstthecmditorsepm|y
for each claim lt meret`h\n onemeditorl\aea particular deim, iis the archer medicaid Part ?.
As much as possiblel listthe claims m alptuvetical order according to lite creditors name

 

  
 

 

 

 

 

 

 

:] NalionSlar Mortgage Describe the propertythat secures the claim: $ 750 000- 00 3 350 000- 00 $
c_e`¢W`N'____'-"__` .
' s m - 14924 Gaulberry Ftun, thter Garden, FL
c/o A|bertelll Law .
… 34787 (persona| restdence)
5404 Cypress Cemer Drive As ofthe date you tile. the claim is: Chet:lt all that apply.
m Conlingent

Tampa FL 33609 g 1. -~ » 4
city state zlP code g Dispmed

Who owes the debi? Ch@¢k une- mature or tien. cheek sit that sppty.

w Deb!of 1 0"|¥ w An agreement you made (such as mortgage or secured

E.l Dehmr 2 only -r van)

n Debtqr 1 and Debi°r 2 °n|y n Statutory lien (such as tax lien, mechanics lien)

cl At least one of the debtors and another w J“d§"\em “5" fmm a lawsuit

El other (including a right to arisen
n Check if this claim relates to a

community debt

 

 

 

 

 

 

 

Date debt was incurred Last 4 digits ot account number
-2£| US Sac & Exchangg Commissior Describe the property that secures the claim: s 250,000.00 § 5
W 4
C. Flichardson-White, Esq. Lawsu't' 6'09'°"'1963'28
…
100 F Sfreet NE As of the date you tile, the claim is: Check all that apply.
_ n Contingent

Washtngton DC 20549 g l. .` .t . 4
Cirv 8on ZIP code n Dispmed

Wh° °Wes "1° debi? Che°k one Nature of tien. check att that appiy.

q DBbe\' 1 °V\\ll n An agreement you made (such as mortgage or secured

C| Debtor 2 amy car team

cl Debt°r 1 and ngwr 2 nn|y cl Statutoly lien (st.\t:h as tax |ien, mechanics lian)

El At least one anne debtors and another v Judgmem lien from a lawsuit

El other <inctuding a right to arisen
m Check if this claim relates no a

community debt
Date debt was incurred 04/15/201\- Last 4 digits of account number_ _ _

 

 

held Ihat dollar urban olmon¢:»¢ in holm-nn h nn ibm nunn unauth monitor h¢r¢- k 1 non nm nnI

 

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FrstNama MlddeName Lasthrle
Addltloltal Pago

Atter listing any entries on this page, number them beginning with 2.3, followed
by 2.4, and so torth.

 

 

 

 

 

 

 

Time lnvestment CO., |nc. oosariaetne property that secures ins ohirn: s 1587-77 s s
Creditcrs Name
c/o Flausch Surm israel anary Flesrdence - UCC
Number Street
r1 1
W- As ofthe date you lile, the claim is: Check all that apply.
Clearwater FL 33780 El contingent
____crry _ _ sae_ 'ziP code l unliquidated
l disputed
Wtw owes the debt? Chei=k one Naiurs ar risn. check orr inst spary.
q Debi°' 1 only a Art agreement you n’ade (such as mortgage or secured
C| Debiarzanry mrluan)
n Debiar 1 and Dsbror 2 only n Statutory lien (such as tax lien, mechanics lisn)
Cl Ar least one orth debtors and another Cl Judgme'\i lien from a lawsuit

Cl other (inarudinq a nom to arisen
cl Check if this claim relates to a

 

 

 

 

 

 

 

community debt
Date debt was incurred M Last 4 digits of account number _ _ _ __
-4 independence Community Assoc oes¢ribothe property that secures ins arotrn: s 25»000-00 s s

mw
metr_$e""§;f“i~°"__d"_'"'_a'_ 14924 Gau\berry nun, winter Gardsn, i=L
14213 P|each Street As ot the date you ti|e, the claim |s: Check all that apply.
_"____‘_`_"_~ a Contingent
Wrnter Garden FL 34787 v r #' - 1
cicy state zlP code n Disputed

Who owes the debt? Check one.

Nature ot |ien. Checlt all that apply.
l;l boston only

l:.l An agreement you made (such as mortgage or secured

[I.l Dsurar z only car loan)
n Deb\°r 1 and D€bw' 2 only n Stalutory lien (such as tax lian, mechanic‘s lien)
n At load one of the debtors and another n Jndgment lien fmm a lawsuit

m Check ifthis claim relates to a n other (mc'udm`g a mm m own

community debt

 

 

 

Date debt was incurred Last 4 digits of account number__ _ __ __
2'4 Describe the property that secures the claim: $ $ 5
Creditors Name
N\tmber Stree\

 

 

 

As of the date you i|e, the claim is: Checlt all that apply.

n Contingent
cary eis" rs_zip_code El unliquidated
E| olsoner
Who owes the debt? Check one- Nature or rien. check air that appty.
Cl Debt°r 1 Only cl An agreement you nude (such as mortgage or secured
n Debtor 2 oni/ car loan)
\;| Dem°r 1 and Demo, 2 only cl Slatutory lien (sucl\ as tax lien. mechanics |ien)
n At least one of the debtors and another a J\ld§m€"\ lien from 3 lawson

El other (inoruding a right to arisen
El cheek if this arsirn relates to a
community debt

Date debt was incurred Last 4 digits of account number

mandausr:rarooaryw.uenumeuumasnuismevmtmnnrnmmro: 26,587.77

lf this is the last naue of vour tnrm. add the dollar value totals from all oaoes. 4 mm cn-r -r-r

 

 

 

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L,ebom..l ....,...\ v.r..~“,',r.v. .s“rv]

Frst Name

 

§
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§

§::l Conserve

Lad NIl\e

 

 

 

 

case number ammn) '“ ""‘“-" v' "

Lht Othors to Bo Nottl'|od for a D¢ht Tlmt You Almady Llsted
w

uselhlspageanlyifyouhaveotderstobenotifiedaboutyowhonkmotnyforadebwmyoualmdylistedrn¢ml Foroxample.lhcokotlon
agencyrs!ryinowoolteothomyouferad¢btmowetasomeoneelu,lmthet:ndrtorin|’ort‘l udmonlistlb¢colmonagemyhsmshnllany,
youhavomorethnnonecroditorfororlyofthedebtsthatyouhotndmPart1 listtheaddihonolcndltonltere.ltyoudonothueaddttionalporwnsto
; benohnedforanydobtsinhrtt. donotlllloutol'oubnitthispoge.

0rr which line in Part 1 did you enter the creditor? 222

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Last 4 digits of account number_ _ _ _
PO Box 1 528
Number Streel
Fairport NY 14450
C‘rty Stale Z|P Code
| l On which line in Part 1 did you enter the creditor?
v Name Last 4 digits of account number_ _ _ _
Number Streel
j Clty State Z|P Code
0n which line irl Part 1 did you enter the creditor?
Name Last 4 digits of account number_ _ _ __
Number Street
_ city stats zlP code
l On which line in Fart 1 did you enter the creditor?
’ Narne f l.ast 4 digits or account number _ __ _ _
Nllmber Street
_ city stale zlP code
l l On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ ___ _
Number Slreet
Cily State Z|P Code
| l On which line in Part 1 did you enter the creditor?
§ Name Last 4 digits of account number _ __ ___ __
Number Street
City State Z|P Code

 

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Mark Christopher Kaley

Flr$ Nl'l\e Mltd|e Nlile

Debtor 1

 

Li§ Name

Debtor 2
(Spouse` iiiling) immune

 

Mlddlc Nl!\e La§ Nlms

United Stales Bankmptcy Courl for lhe: Midd|e DlStrlCl 01 F|Ol‘ida

Case number 19'00329'6A7

(|f known)

 

 

 

 

Ofncial Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Ba as complete and accurate as possibla. Use Part 1 for creditors with PRlOR|TV claims
List the other party to any executory contracts or unexpired leases that could result in a

0 check ifthis is an
amended filing

12115

and Part 2 for creditors with NONFR|OR|T¥ claims.
claim. Also list executory contracts on $chedule

A/B: Property (Ott'icial Form 106AlBl and on Schodule G: Executory Contmcls and Unexplred Leases (Ofticial Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Credl‘tors Who Have Clalms Secured by Property. lt more space is
needed. copy the Fart you need, till it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

Ll$t AII of your PRI°R|`|'¥ \ll“c\ll\d Cllim$

 

1. Do any creditors have priority unsecured claims against you?

a No. Go to Part 2.
Cl Yes

z l.ist allatyour priority imseinred china ll a creditor nasmore lharl one priority measured claim, llstlhe miller separately breach claim For ,
eacnclalm listed ideniiiywhat type of claim it' ls. ita claim hasbotli priority and nonpriority amounts. list_lll_a claim here and slwwbottlpriority and '
nonpriorlty amounts As much as possiblel list the oiltims' m alphabetical orderaccording to the creditor*s name lt you have more than two poorly
unsecured cla'ma, fill oulllie continuation Page olPart1ltmorethanone credior lowell peddlercloim, list ma other oreclllorsiar>alt .

(For an explanation oleach typeofciaim,seethe instructions forlltie form lntheinotructionbooklet)

 

Prlcrlty Creditol*s Name

 

 

 

Number STSM

cary stale zlP Code
Who incurred the debt? Check one.

n Debtor 1 only

Cl Del>lorz only
n Debtor 1 and Debtor 2 only
l] Al least one urine debtors and another

n Check itthis claim is for a community debt

  

Last 4 digits of account number _ 5 $ $

When was the debt lncurred?

As of the date you file, the claim is: Check all that apply,
n Cont'ligenl

Cl unliquidated

D Displned

Type of PR|OR|TV unsecured claim:
n Dorriastic support obligations

n Taxes and certain other debts you owe the govemmenl
El Claims for death or personal injury while you were

 

 

 

 

 

 

le the claim subject to offset? im°xi°a‘ed

n No n O!her. Speciy

m Yes

'2 Last 4 digits ot account number __ __ _ _____ 5 3 5

Priorlty Credlhofs Name
When was the debt incurred?

Number Street
As of the date you tile, the claim is: Check all that apply
a Contingent

city stare zlP code Cl Unliquidated

who incurred trw dam check nna. n D‘*‘i’\“°"

El Deblor 1 only

Cl Deblnrz only
m Debtnr 1 and Deblor 2 only
cl At least one of the debtors and another

n Check if this clalm is lbr a community debt

ls the claim subject to offset?
a No

|_l v_..

 

Type ot PR|OR|T¥ unsecured claim:
m Domestio support obligations
n Taxes and certain other debts you owe the govemmenl

n C|sims for dllth or personal injury while you were
intoxicated
n Olher. Speciiy

 

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m 'Iour PR|OR|T'I Unsoeund clalmo - Con¢lnuatlon Fam
Aitor listing any onlri» willis page mmboginnlng wali é.;,loilmoo by z», ana m roiol. .

:l

 

 

 

 

Priority Creditlol“s Name
N u mer Street
Cl!y Smte Z|P Code

Who incurred the debt? Cheok one.

Cl ooblor 1 only

n Dabtor 2 only

n Dablor 1 and Debtor 2 only

n At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

EINo
DVes

Last 4 digits of account number

When was the debt incurred?

As ot‘ the date you li|e, the claim is: Cheok all that apply.

El conlingem
l;l unliquidated
El Dlspuied

Type of PRIORITY unsecured claim:

n Domestic support obligations

cl Taxes and certain other debts you owe the govemrnent

a C|aims for death or personal injury while you were
intoxicated

a Olher. Specity

 

 

Priority Creditors Name

 

Number Street

 

 

City State Z|P Code

Who incurred the debt? Cheok one.

El namer 1 only

l;l Debtor 2 only

|:l Debtor 1 and Debtor 2 only

g At |easl one ofthe debtors and another

Last 4 digits of account number ___

When was the debt incurred?

As of the date you tile, the claim is: Cheolc all that apply.

n Contingent
l;l unliquidated
El Dispulod

Type of PR|OR|TY unsecured claim:

E] Domosiio support obligations
cl Taxes and certain other debts you owe the govemment
l;l Claims fordeeth or personal injury while you were

 

 

 

 

 

Who incurred the debt? Check one.

El Deblor 1 only

l;l Debtor 2 only

Cl Deblor 1 and Dol>lor 2 only

n Ai least one cf the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

m No
m v,.._

 

l;l Check it this claim is for a community debt im°’""!°d
n Other. Specify
ls the claim subject to offset?
a No
U Yes
Last 4 digits of account number _ _ _ _
Pnonty Credltlofs Name
When was the debt incurred?
Number Street
As of the date you ile, the claim is: Chectl all that apply.
l;l Contingent
city sale zlP code U Unliquidaied
lIl oispulod

Type ot PR|OR|TY unsecured claim:

n Domestic support obligations
a Taxes and certain other debts you owe the govemment

n Claims for death or personal injury while you were
intoxicated

|Il olhoi. specify

 

 

 

 

 

 

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List All of Your NONFR|0R|TY lll\socllred Claims

3. Do any creditors have nonpriority unsecured claims against you?

l:\ No. You have nothing lo report in this part. Submit this form to the court with your other schedules
Ves

c Lida\lofyournonpriontyunmorenelaimemenahlubeucdomwofmemodhmwmhouseachnmifaorodkormsmemanorie
prioritymisamitenctolm¢iisttnecredilorsepatately foreacriclaim Foreschclalmiieted inentltywhatiypeoroiaimilis Dotiol`istchimsaireany

inclinodinPat-It tfrnore than erie creditnrholdslilportionlaroiaim liotti`ie othercrenitor`iiinPartSltyou have more than three nonproth unsecured

chimstillouttilecontinlationPageofPan;> '

 

  

i

 

 

 

 

 

 

 

 

§ zoca Loans Last 4 digits of account number __ ___ _ __ /¢)/00 a"
Nonpriority Creditors Name s s
Po Box t 147 27565 nosearon Park orivo W"°" ‘"“ "‘° °°*" '"°""°°?
mother Street#

Mission SD 57555

city Sh¢, Z|p Code As of the date you file, the claim is: Check all that apply.
n Coniingent

Who incurred the debt? Check one. n unliquidated

>D Doblor 1 only El Disputod

m Debtor 2 only

l] Dehtor 1 and Dobtor 2 only Type of NONPR|OR|TY unsecured claims

l;l At least one of the debtors and another n student hans

El check ir this claim is for n community debt n °b"€°“°“’ '"‘°‘"9 °“' °‘ a S°P°'““°" °9'°°"'°'“ °"""°'°°

that you did riot report as priority claims

is the claim subject to offset? El Debts to pension or profit-sharing plans, and other similar debts

a No El Other. Specify

n Yes

2 Purchasing Power last 4 digits or account number _ __ __ _ s VUO-

No'npn'oniy` Creditors Name ' " "" j ii 'i` ii When was the debt incurred?
1349 West Peachtree Street NW Suite 1100
Number Street
At|anta GA 30309 As of the date you file, the claim is: Cheok all that appiy.
city sure zlP code n Comingem
who incurred the debi? check one. El unliquidated
Debtorl only n Dlsputed

n Debtor 2 only

n Debmr.| and Dsht°r 2 amy Type of NONPRIORlTV unsecured claim:

 

 

 

 

n At least one of the debtors and another l:l Student loans
Eloblit' " tolsooat' roomo ii
Cl Check if this claim is for a community debt ¢hmz::g;::",?p:: as:mmyr:|::;g m m Name
ls the c|,im subject w offset? n Debts to pension or profit-sharing plans, and other similar debts
a N° l;\ Olher. Specify
cl ¥es
~3 l Plain Green Loans / Rocky Mountain ng Managemel usi 4 digits or.-iooount number __ _ __ __ s go 100
N creditor N _/___
°np“°my s ama when was the debt inourren?
2360 Sweet Home Ftoad
Number Sdeet
Amherst NY 14228 _ _ _
city Sme Z|p code As of the date you tl|e, the claim ls. Check all that app|y.
who incurred the debt? check ono. g ::|'i';'::::;d
|
y Dobior 1 only a .
Dlsputed
Cl Dobiorz only
n D°M°r 1 and D°bt°' 2 °"'y Type of NONPR|ORITV unsecured claim:

n At least one of the debtors and another
n Student loans

a Che¢k ll lhi$ Clai"\ is for a community debt m Obligations arising out of a separation agmement or divorce

is the claim sub` ct to offset? that you did not report as priority claims

m N le n Debts to pension or profit-sharing plans. and other similar debts
0 g C!her. Specify

n Ves

 

 

   
 

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25 Tlme investment Co., lnc.

 

Nonprionty Credltlol’s Name

5801 Ulmerton Fload

 

 

Number Street
C|earwater FL 33760
City State ZlP Code

Who incurred the debt? Check one.
s Debtor 1 only

Cl Debtor 2 oniy

n Dehtor 1 and Debtor 2 only

n At least one of the debtors and another

l:l Check it this claim is for a community debt
ls the claim subject to offset?

aNo
DYas

¥our NQNFRIORlTY Unsocured claims - contlnuatlon Page

starr listing anyentrr¢it entire inch mmir¢rilnrni»gimm non 4.4, lorraine weigand carbon

Last 4 digits of account number

When was the debt incurred?

As of the date you hle, the claim is: Check all that apply,

n Contingent
E.l unliquidated
El Dispulod

Type of NONPR|ORIT¥ unsecured claim:

n Student loans

n Obligelions arising out ol a separation agreement or divorce that
you did not report as priority claims

g Debls to pension or profn-sharing phans, and other similar debts

El oihor. spooiry

     

)m ~ roe -.

riot **

 

t

CalvarySPV l, LLC / D & A Servioes LLC ot lL

 

Nonpriority Credrtoi*s Name

1400 E. Touhy Avenue

 

 

Last 4 digits of account number _

When was the debt incurred?

 

 

 

 

 

m Debtor 1 only

El Debtorz only

D Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Checlt if this claim is for a community debt
le the claim subject to offset?

due
DYes

g;:rp|ain;;eet |L 6001 8 As of the date you tile, the claim is: Cheok all that appiy.
gm state zlP code l;l conringeni
El unliquidated
Who incurred the debt? Check one. n Dispmad
a Debtor 1 only
El Dobror z only Type of NONPR|OR|TY unsecured claim:
n Debtor 1 and Debtor 2 only n Studem hans
m At bag °"e °' me dem°'s and another n Ob|igatlons arising out of a wpsration agreement or divorce that
El Check if this claim is for a community debt you did not 'epm as p"°r"y owns
n Debts to pension or profit-sharing plans, and other smihr debts
ls the claim subject to offset? n other_ Specify
,R No
n Yes
L/Ql
jEnt°;rpl,|\$e Reoo&ry Siysteim§ x g j `i Last 4 digits ofaccount number _ __ _ _
Nonprlority Creditnl’s Name v
2000 York Fload Suite 114 when was me debt '"°""ed?
g;:(e'Brooksmet |L 60523 As ot the date you tile, the claim is: Check all that apply.
any smc ercode |:l Contingent
El unliquidated
llllho incurred the debt? Cheok one. n Dispmed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Ob|igat'lons arising out oi a separation agreement or divorce that
you did riot report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

El other specify

 

 

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Your NONFR|0R|T¥ Unsocurod Claims - Contlnuatlon Fage

 

     

E Bright Now Denta|

 

Nonpnomy Creditors Name

 

 

PO Box 52858

Number Street

irvine CA 9261 9
City Stzte Z|P Code

Who incurred the debt? Check orle.

a Debtor 1 orlty

El Demor 2 only

E| Debior 1 and oeblor z only

m At ieast one ol the debtors and another

\:l Check if this claim is for a community debt
lt the claim subject to offset?

dNo

' Arrar listing uny,dntn¢s` on this me numr\lm beginning wiio£.c~, followed by 4.6, and ad rvnh; v

La:t 4 digits of account number

When was the debt incurred?

As of the date you tile, the claim is: Cher:ir all that apply.

n Contingent
El unliquidale
El Dispuled

Type of NONFR|ORITV unsecured claim:

n Student bans

m Obligations arising out ot a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing pkans, and other similar debts

El oiher. specify

 

 

 

 

 

 

s Debtor 1 only

n Debtor 2 oniy

n Debtor 1 and Debtor 2 only

cl At least one ol the debtors and another

n Check if this claim is for a community debt
ls the claim subject to otfset?

Type of NONPR|ORIT¥ unsecured clalm:

n Student loans

l;l Obligations arising cut ot a separation agreement or divorce that
you did not report as priority china

n Dehts to pension or profit-sharing plans, and other similar debts

n Other. Specify

m Yes
lli’l “’
Lendup Lasm digits or account number _ _ ____ _ $_M_
NonpriomyE;d:liors Narne 7 j
Wh th d bt ` d?
237 Kearny Slreel #372 en w" e e '"c""e
§;':'Francsi;:;) CA 941 08 As of the date you file, the claim is: Check atl that apply.
C;W stare zlP code U Corllingerlt
Cl unliquidated
Who incurred the debt? Cheok one. n pispuie¢

 

 

 

 

d Debtor 1 uniy

lJ Delndrz amy

n Debtor 1 and Debtor 2 only

n At least one ofthe debtors and another

El check ir this claim is for a community debt

is the claim subject to offset?

cl No
n Yes

 

Type of NONPR|OR|TY unsecured claim:

0 Student loans

D Obligations arising out al a separation agreement or divorce that
you did not report as priority claims

El Debts to pension or prof¢-sharing plans, and other similar debts

n Other. Specify

 

n No
g ¥es
ff.‘)| LU:
Spol Loan LeetLdigits of account number ___ __ _ _
Nonpriority Creditofs Name
PO Box 927 When was the debt incurred?
N be
P“;|a'tin S"°°‘ “_ 60078 As crane date you rile, me claim is: cheek all max appry.
city saw zlP code El cominng
Cl unliquidated
Who incurred the debt? Check one. a mspde

 

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Your NONPR|0R|TY Unsecured Clalms - Mntlnuatlon Page

 

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siler dating any mine on this page number them beginning with 4.~4, formedi»y as. and eo rome

 

 

 

 

 

 

 

 

 

 

 

 

 

/D
l . '
j Ventas instrument Ftental '~““d‘g"‘ °'=°°°“"* ““'“b" _ _ _ _ s /$@,
Nonpriority Cred`rtors Name
When was the debt incurred?
10720 Park Boulevard
Number Street . .
. A fth date tile,¢hec| mt :Chck lltht .
Semmole FL 33772 s ° ° "°" "‘ s ° “‘ “ "“’"“'
city state zlP code El contingent
El unliquidated
Who incurred the debt? Cnecll one n Disp,_ned
n Debtor 1 onty
l:l Deotorz onty Type of NONPRICR|TV unsecured claim:
n Debtor 1 and Debtor 2 only \;| Student hans
cl m least °"" °' me deb’°rs a"d a"°‘h°' n Obligations arising out of a separation agreement or d'woree that
. . . . . did not report as priority claims
Dcn krth l r ndot y°"
°° ' 's ° °"" 's °' a °°""“"“ y ° El Debls to pension orplont-enanng plans. and other sinilar debts
le the claim subject to offset? n Other. Specify
n No
l:l Yes
Direct TV Last4 dlglts of account number _ __ _ ____ $:H 04
Nonpriority Cl'editors Name
When was the debt incurred?
PO Box 6550
Number Street
. A ofth date til ,th |` ` :Ch k llthat .
Greenwood village CO 80155 5 e ’°" e ° ° °"“ ‘s °° "‘ "“’°"
¢;-.t, state zlP code l:l Contlngent
El unliquidated
Who incurred the debt? Chock one. cl Disputed
m Debter 1 only
l:l Debtnr 2 only Type of NONFRIOR|TY unsecured claim:
g Debtor 1 and Debtor 2 only a Smdem loans
A' least °"e °f'he dewa and another m Oh|`gations arising out of a separation agreement or divorce that
n Check it this claim is for a community debt you md nm regan as many c|:e'ms _ _
n Debts to penslon or profit-shaan plans, and other srmlkar debts
ts the claim subject to offset? U Othen Specify
ll No
a Yes
l__r . . s
independence Community/ l-`lrst Service Flesidentia| '~""*“*'9"’ °fa°°°""* "‘"“be' _ -- _ -
Nonprlorlty Croditors Name
When was the debt incurred?
14213 Pleach Street
Nurnber Street
. As of the date ol.l fl|e, the claim ls: Cneck ll th t .
Wlnter Garden FL 34787 y a a ap°'y
city state zlP Code Cl contingent
El unliquidated
Who incurred the debt? Chack one. n D|spmed
m Debtor 1 only
0 Deblnr 2 onty Type of NONPRIORITY unsecured claim:
n Debtor 1 and Debtor 2 only a modern hans
n A' bag °"e °m‘e debt°'s and another n Obligatlons arising out of a separation agreement or divorce that
Cl cheek if this elairn re for a community debt y°u d'd "°' '°P°" as p"°"'y °'F""'s ,
n Debts to pension or protit~shanng plans‘ and other similar debts
ls the claim subject to offset? cl when specify
g No
a Yes

 

 

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m Ll$'t 01||¢|‘$ w 80 Notill¢d Aboll¢ l D.b! Tlll\ Vo\l Alr¢ady Li$bd

exampie, if a collection agency is trying to collect from you for a debt you owe to someone eise. list the original creditor in Parts 1 or
2, then list the collection agency here. Simiiariy, il you have more than one creditor for any ol the debts that you listed iri Farts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not till out of submit this page.

§ 6. Use this page only if you have others to he notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
l
l
§

 

 

 

 

On which entry in Part 1 0|’ Part 2 did you list the original creditof?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): Cl Part l: Creditors with Priority Unsecured C|aims
Number Sbeef ij Part 2: Creditors with Nonpriority Unsecured Ciaims
Last 4 digits of account number _ _ _ __
City State Zip Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1:Cneditors with Priority Unsecured Ciaims
N“"‘W aim U Part 2: Creditors with Nonpriority Unsecured
C|aims
Last 4 digits of account number_ __ __ _
city state zlP code
On which entry in l'-'art 1 or Part 2 did you list the original creditor?
Name
Line ol (Check one): Cl Part 1: Creditors with Priority Unsecured Ciaims
Num*=e' S\'e€f Cl Pal1 2: Creditors with Nonpriority Unseoured
C|aims n
Last 4 digits ot account number _ _ _ _
cgy state zlP c_q_d_d
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): l;l Part1: Creditors with Priority Unsecured Claims
N""‘b°' S"€°* Cl Part 2: Creditors with Nonpiiority Unsecured
Ciaims
, Last 4 digits ol account number_ _ _ __
city state zip code
On which entry in Part 1 or part 2 did you list the original creditor?
Name
Line of (Check one): El Part l: Creditors with Priority Unsecured C|aims
N“"'b°' S"ee' l] Part 21 Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits of account number _ __ ___ _
cg )sy_t'e zlP cnd__iL
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1; Creditors with Priority Unsecured Ciaims
N“"‘b°' 5‘“*’* El Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits of account number_ __ _ _
city save zlP code
Nam On which entry in Part 1 or Part 2 did you list the original croditor?
6
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Street . . .
Cl Part 2; Credltors with Nonprlority Unsecured
Claims
my w Z|P Code Last 4 digits of account number _ _ _ __

 

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Add the Amounls for Each Type ot Unsecurod C|aim

 

 

matcth
from Fart 2

 

Ba. Domestlc support obligations

6b. Taxes and certain other debts you owe the
government

6c. Claims for death or personal injury while you were
intoxicated

6d. Other. Add all other priority unsecured claims
Write that amount here.

6e. Total. Add lines 63 through 6d.

6f. Student loans

6g. Obligations aris|ng out of a separation agreement
or divorce that you did not report as priority
claims

6h. Debts to pension or protit-sharing plans, and other
similar debts

6i. 0tt\er. Add all other nonpriority unsecured claims
Write that amount here.

6]. Total. Add lines 6f through 6i.

6a.

Sb.

Sc.

6d.

6f.

Gh.

6i.

6i.

s. Total the amounts ot certain types ot unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim

+s

 

 

C)QOQO

 

 

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Fill m tl\i:~. infr)mmtlr)n to \(ler\tlfy your gases

Deb,°, Mark Christopher Kaley

Hr§ Nlr\ e mddlo Nl'll

Deblor 2
(Spouse lt fillng) tim Name Middle Name

 

United states Bankruploy Cou¢t rorihe; Middle District ot Florida

1 9-00329-6A7
<G:?:o;»v:)mber El check mms is an

amended filing

 

 

 

Offlcial Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12)15
Be as complete and accurate as possib|e. lftwo married people are ming together, both are equally responsible for supplying correct

lnformation. lf more space is needed, copy the additional page, |ill it out, number the entries. and attach it to this page. On the top of any
additional pages. write your name and case number (if known).

 

1. Doyouhaveany ‘ y ‘ tsor _'eu' ?
a No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
Cl Yes. Fill in all of the information below even ifthe contracts or leases are listed on Schedule A/B.' Propeny (Ofticial Form 106A/B).

 

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for llor
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person' ` orconpmyvnth.' /whom_`youhavethe, contract orlease y ' _ `mqh¢~ mr wm dion”vsa`¢§m_'
\
2.1§

 

Name

 

Number Street

 

City State ZlP Code

 

Name

Number Streel

 

cgl sra__i_g zlP code

 

Name

 

Number $treel

 

Clty Stale ZlP Co'£e

t .'~’
L..£L~

NTme

 

Number Strset

 

Ci*y State Z\P Code
asi

 

Name

 

Number Street

 

 

(`.ilv Staln 7|P (`.nrte

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m'n"ia ron ri ic en l y your case:

 

nation Mark Christopher Kaley
F\'I

Name Mlddle N¢\’le

Deblor 2
(Spou&, if ning) Frg Name Middle Name Last Name

 

urined sales ammer court rur irie; Middle District of Florida

case number 19-00329-6A7

(ll knowr’rl

 

 

El check if this is an
amended filing

 

Oflicia| Form 106H
Schedule H: ¥our' Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lt two married people
are ti|ing together, both are equally responsible for supplying conect infon'nation. lf more space is needed, copy the Additioml Fage, till it out,
and number the entries in the boxes on the |e|t. Attach the Additional Page to this page. On the top ot any Additional Pages, write your name and
case number (il known). Answer every question.

 

 

1. Do you have any codebtors? (|l you are ti|ing a joint case, do not list either spouse as a codebtor.)
n No
d Ves

2. Within the last 8 years, have you lived in a community property state or territom (Communr'ty property states and territories include
Arizona, Ca|ifornia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and \Msconsin.)

E No. co lo line 3.
m Yes. Did your spouse\ former spouse. or legal equivalent live with you at the time?
El No

n ‘(es. ln which community state orterritory did you live? . Fill in the name and current address of that personA

 

Name of your spousev former spouse, or legal equ'~alenr

 

Number Street

 

city sims zip code

3. |n Co|umn 1, list all ot your codebtors. Do not include your spouse as a codebtor it your spouse is filing with you. List the person
shown in line 2 again as a codehtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor orr
Schedule D (Oftir:ial Form 1060), Schedule E/F lOtticial Form 106EIF), or Schedule G (Ofticia| Form 1086). Use Schedule D,
Schedule E/F, or Schedule G to till out Co|umn 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

column rr your comm ’ ` column zimeiediwnp.v¢lian pursue nielsen
crack ailschedulesiharappr¢ ’
Big Apple Consulting USA, lnc. n Schedule D "ne ¢'7,
Name ' _
2149 Harbor¢Cove Way 7 w Ef schedule E/F, line_
NW°*_S""M ' `" ` ¥ mr n lIl schedule G, line
Wlnter Garden FL 34787
,, Crrr ,, 1 _________ sl.=_ re ZIP me
321 Mar J blon
Name a z Schedule D, line 7»1 z
2149 Harbor Cove WaL El Schedule E/F, line
Number elmer EI Schedule G, line
Winter Garden FL 34787
§lirN w 1 , a _ sess DP.CQ.¢_¢
3'3 Matrhew Mgrmire § schedule l;>, line Z' L
Name ___
8645 Spikemsh Coun El schedule E/F, llne__
Number street l:l Schedule G, line
Sanford FL 32791
Citv State ZlP Code

s1

CaSe 6219-bk-00329-CC.] DOC 10

 

FNNlme

Mldde Name Laet Nzna

Addltional Page to List More Codebtors

f

. ldclrrrirlr.,. 12 Your codebtor~

 

 

 

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cummznlecrednc¢wwhonycumaiedcvr
checkaiiwiedulesrhaiapply:' ` `

Cl schedule D, line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Cl Schedule E/F, line
Numb,, St,,et n Schedule G, line
h cry stale zichdc
§ U Schedule D, line
Name _'
El Schedule E/F, line
Number St,eet U Schedule G, line
___§l']_..., . ._§'l_§_‘_° _ Z‘P C°d°
34_
Cl Schedule D, line
Name "'_
l:l Schedule EIF, line
Numb,, St,,e, Cl Schedule G, line
W a ` ¥` ii"'s$ ` § "ziPccde
:-1
Cl Schedule D, line
Name _--
Cl schedule E/F, line
Number Street g Schedule G, line __
_9}! Yry zlr= code
3.¢
j s El Schedule D, line
Name -__
El schedule E/F, line
miner sheer El schedule G, llne_
__951. ~_ _1 ____.__ _ _.__.1 _… _ _______§!=*_'£‘?M ________ zll> cod§___.
3-_
El Schedule D, line
Name __
\;l Schedule E/F, line
Number sheet n Schedule G, line
,. ._CB!_W. S‘?Ee ._.___._§'_FLCE'ZS__ ___...._._
§
U schedule D, line
Name
L_.\ Schedule E/F, line
Number angel U Schedule G, line
E£W_ _ _ . _, . _
ij \_ .\ [J Schedule D, line
Name "
n Schedule E/F, line
Number sheer Cl Schedule G, line

 

 

 

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Fill in lhlz; ll\ll)rliirltl<:)n t<l li_lelilll'~i ‘»,='r'iill' tri\.i»'

D,bw,i Mark Christopher Kaley

HrsNzrle mate Na'rlo

Dehtor 2
(spduec, w iiling) m rem male mine

 

Un'ted Slates Bankmptcy Courl for the: Middle District ot Florlda
case number 19'00329'5A7 check if this ie;

(|f known)

 

n An amended lilan
n A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106| m

Schedule l: ¥our income wis
Be as complete and accurate as possible lt two married people are tillng together (Del:llor 1 and Dohtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

lf you are separated and your spouse is not hling with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this torm. On the top of any additional pages, write your name and case number (lf known). Answer every question.

Doscrlbo Employmont

1. Fillinyouremployment j ~ ,` __ v , '__ n ` ,_ _ _ >
information. B¢MCF ‘l , ~ motor Zvor.»non_;ttli\g spouse j

lf you have more than one job,

 

 

 

 

 

 

 

 

attach a se rate e with
in,ormmionpaabom ::gmona, Employment status d Emp|oyed g Employed
employers n Not employed D Nol employed
include part-time, seasonal, or
lf l d . . .
se emp °ye work occupation Attractionss Op@ratlons l Cust Ser Homemaker I Substitute Teacher
Oocupation may include student
or homemaker, if it applies.
Empi°yer»s name Disney Parks & Resorts Kelly Educationa| Stalting
Empl°y¢r’$ address 1365 W. Monorail Way 3319 Magilre Blvd
Nun'her Sireet Number Street
Suile 150
Lake Buena Vistz FL 32830 Orlando FL 32830
City Slale ZlP Code City Stata ZlF Code

How long employed there?

Give Dotlils lboll¢ lonth ln¢ome

Estimate monthly income as of the date you tile this form. |f you have nothing to report for any llne, write $D in the space. include your non-iiiing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the lnfom'latlon for all employers for that person on the lines
below_ lf you need more spaoe, attach a separate sheet to this forrn.

.For Debtor 1 Forlkhtor apr

 

r haulingst ~
r
' 2. List monthly gross wages, salary, and commissions (before all payroll
deductions). lf riot paid monthly, calculate what the monthly wage would be. 2. $ 1 ’635_00 $ 80_00
3. Estirnate and list monthly overtime pay. 3. +$ 0-00 + 5 0.00

 

 

4. Calculate gross income. Add line 2 + line 3A 4A $ 1,635.00 $ 80.00

 

 

 

 

 

 

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Debmr‘] lvlal l\ ul ll la\upllul l\cu\:ly ease number(nmn) lar-vu\;ga-ur\r
Fi'§ Mme Midde Name La§ Nille

 

mower ' \Fdroeuev_m`"zor`-

 

5 1,635.00 5 B0.00

 

Copy line 4 here..._

5. List all payroll deductions:

 

 

 

5a. Tax, Medicare, and Socia| Security deductions 5a. $ 57.00 $ 0.00
5h. Mandatory contributions for retirement plans 5h. $ 0.00 $ 0.00
5e. Voluntary contributions for retirement plans 5e. $ 0.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. $__M $ O-OO
5e. |nsurance 5e_ $_LSO_O $ 0.00
sf. ocmestic support obligations st s 0.00 s 0.00
59. Union dues 5g. $___M $ 0'00
5h. Other deductions Specify: 5h. +$ 0.00 + 5 0.00
s. Add the payroll deductions Add lines 5a + 5b + sc + sd + se +sf + 59 + 5h. 6. $ 601 .00 $ 0.00
1. calculate total monthly take-horne pay. subtract line c from line 4. 7. s 1 .034-00 s 80-00
a. List all other income regularly reoeived:
Ba. Net income from rental property and from operating a business,
profession. or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses and the total $ 0 00 $ 0 00
monthly net income. Ba. _' _`_
ab. interest and dividends ad 5 0.00 $ 0.00
Bc. Family support payments that you. a non-filing spousa, or a dependent
regularly receive
include alimony, spousal support child support, maintenance, divorce
settlement and property settlement Bc. $--_O`-QQ $--_QM
Bd. Unemployment compensation Bd. $_____O(L)_ $ O-OO
Be. Social Security Be. $ g Q§[ $ Q_QQ
8f. Other govemment assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benelits underthe Supplemental
Nutrilicn Assistance Program) or housing subsidies
Specify: SNAP Bf. $M $ Q.OO
89. Pension or retirement income Bg, $ 0.00 5 0.00
8h. Other monthly income. Specify: 8h. + $ 0.00 +$ O_OO
9. Add all other income Add lines 83 + 8b + 86 + 8d + B`e + 814-89 + 8h. 9. | 5 45000| l $ 0_00

 

 

10,Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse 104 $

 

1,484.00 + 3 80.00 =E 1,564.00

 

 

 

 

1

d

. State all other regular contributions to the expenses that you list in Schedule J.

lnclude comributions from an unmarried partner, members of your household, your dependents your roommates, and other
friends or reiatlves.

Do not include any amounts already included in lines 2-10 or amounts that are nol available to pay expenses listed in Schedule J.

 

Speciiv:SNAP 114 + s__7M
12. Add the amount in the last colunn of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of your Asssts and L/'abilities and Certain $atl'stl'cal /nfonnatl'orl, if it applies 12. __i'a_ld‘_‘o_°_
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this forrn?
l:l No.
a Yes Explain:

 

 

|lsney now PT l Also have flaxi Jobn wl'th_Amazon wU< from homa.

With their pay increase and greater

     

 

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Fill in tiii:~. information 10 iclr~niill,i »,1…11 raw

“e“’°" "'L:r§,"?h"$topher Kal?,.§',, ,._n, check ifthis is:

nehi 2 .
(spd;;, rniing) music winn line a An amended f"'ng

w , 4 _ d a A supplement showing postpetition chapter 13
U"“°“ S‘”'°*" a°"'““"‘°" °°‘"‘ ‘°‘ "‘°`~ M'dd‘° D'st"°t °' F'°"d‘ ` expenses as of the following date:

case number 19'00\'-’»29'6/'\7 m / DD/ vaY

(ir known)

 

 

 

Officiai Form 106J
Schedule J: ‘{our Expenses ms

Be as complete and accurate as possibie. lt two married people are liling together. both are equally responsible for supplying correct
information. it more space is needed, attach another sheet to this tonn. On the top ot any additional pages, write your name and case number
(if known). Answer every question.

Part 1: D“cl'lbe your Hw$.llokl

 

1. ls this a joint case?

El No. co to line 2.
l;l Ves. Does Debtor 2 live in a separate household?

n No
i;l Yes. Debtor 2 must file Ofiicli Form 106J-2, Expenses for Separate chsehold ofDebior 2.

 

2. Do you have dependents? ['_`| N°

 

 

 

 

 

 

Dependent’s relationship to Dependerlt's ` Does dependent live
no nor list Demor1 and § ves. Fiii our mls information for nemori nrcemnrz age » wim your
Debtor 2. each dependent ..........................

Do not state the dependents Wile 45 § N°
names ' Yes

Daughier 1 ]1 m N°

g Yes

Son 1 11 m N°

g Ves
Dgughter 2 4 a N°
g Ves
a No
a Ves
3. Do your expenses include g No

expenses ol' people other than
yourself and your dependents? n Yes

Estimate Your ongoing Ionthly Exponaoo

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as ot a date after the bankruptcy is iled. lt this is a supplemental Schedule J, check the box at the top ot the form and hit iri the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule l: your lncome (Otlicial Form 106|_) VN!? W

4. The rental or home ownership expenses for your residence include iirst mortgage payments and $ 21 500_00
any rent for the ground or |ot. 4.
if not included in line 4:
4a. Reai estate taxes 43_ 3 0.00
4b. Property, homeowner’s, or renter's insurance aba $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c $ 150.00

3 `i 75.00

4d. Homeowner’s association or condominium dues 444

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Debtor, Mark Christopher Kaley

¢Il

13.
14.

15.

16.

ZU.

Fifd Name MidlIeNlmn la§ NIl\a

. Additional mortgage payments for your residence. such as home equity loans

. Utilities:

sa. E|ectricity, heat, natural gas
Sb< Water, sewer, garbage collection
Sc. Te|ephone, cell phone, |ntemet, satellite, and cable services

5d. Other. Speoil'y:

 

. Food and housekeeping supplies

. Chiidcare and children's education costs
. C|othing, laundry, and dry cleaning

. Personal care products and services

. Medical and dental expenses

. Transportation. include gas, maintenance, bus or tlain fare.

Do not include car payments
Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehic|e insurance

15¢:1. Other insuranoe. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20_
Specify:

 

. installment or lease payments:

173. Car payments for Vehicle 1
17d. Car payments for Vehic|e 2
17¢>. Other. Specify:
17d. Other. Specify:

 

_ Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your income (Omclal Form 106|).

_ Other payments you make to support others who do not live with you.

Specify:

Other real property expenses not included in lines 4 or 6 of this form or on Schedule I: your Income.

20a. Mortgages on other property

20b. Reai estate taxes

20a Property, homeowners or renter‘s insurance
20d. Maintenance, repair, and upkeep expenses

zoe. Homeowner’s association or condominium dues

Case number nimmo 19'00329'6A7

 

¥ou¢§xpenses

5- $ 0.00
sa_ s 450.00
sb. $ 75.00
sc, $ 575.00
6d. $ 0.00
7_ 5 1,000.00
s. s 200.00
9. $ 200.00
10, $ 50.00
11. $ 100.00
12. 5 150.00
13_ 80.00
14. 0.00
153. $ 000
1511 $ 000
15a $ 0.00
15a $ 0-00
16. $ 0.00
113. s 0-00
17b_ $ 0.00
ivc. $ O-OO
17d_ $ 0.00
13- $ 0.00
19. $ 0.00
20a $ 0-00
zob. $ 0.00
20a $ 0.00
zod. $ 0.00
$ O.QO

20e.

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ashton Mark Christopher Kaley case number wm 19-00329.6A7

Fm Name Mldde Name La§ N¥i\e

21- +s____lm

 

21. Other. Specify:

 

22. Calcu|ate your monthly expenses.
22a 5 5,675.00

zzb. 5 0.00
22a 5 5,675.00

22a Add lines 4 through 214
22b. Copy line 22 (monthly expenses for Debtor 2), if anyl from Omcial Form 106J-2

 

22c. Add line 22a and 22b. The result is your monthly expensesl

 

 

23. Calculate your monthly net income.
5 2,314.00

23a Copy line 12 (your combined monthly income) from Schedule l. 232.

23b. Copy your monthly expenses from line 22c above. zab. _ 5 5,675_00

 

23c. Subtract your monthly expenses from your monthly income
. . 5 -3,361 .00
The result is your monthly net income 23¢:. _

 

 

 

24_ Do you expect an increase or decrease in your expenses within the year after you me this forrn?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a moditimtion to the terms of your mortgage?

 

m No.

g Yes_ Exp\ain hem Looking ior mortgage relief both modification and reduced principal with credit for monies paid
as loan was unconscionable and predatory with balloon payments; or an alternative solutions

can be reached to remain in residence with minimal payment Disney is now PT (with no

medical benefits) l have reduced monthly expense in this regard and with pay increase at

Amazon l can continue to focus on improving iinancial situation. Also would like SEC

Judgmenl declared as an impossibility as that is impeding forward progress

 

 

 

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Fll| in this ullormatlon to identify your case:

mm Mark Christopher Kaley

F'l§ Name Mir!dl. Nllle LlstNIlll€

 

Debtor 2
(Spouse. if hling) Flrer Name Middle Nzna

 

Unlted Slates Bankruptcy Court lor the: Mlddle Dlstl’ict of F|ol’ida

Case number 1 9-()0"129-6»°\7
(ll knoMl)

Cl Check if this is an
amended tiling

 

 

Ofticial Form 106Dec
Declar'ation About an lndividual Debtor’s Schedules 12115

lf two married people are filing together, both are equally responsible for supplying correct infon'nation.

You must me this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in hnes up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.G. §§ 152,1341, 1519, and 3571.

- sign sel°w

Did you pay or agree to pay someone who is NOT an attorney to help you ill out bankruptcy fonns?

HNo

a Yes. Name of person . Attach " ,_ , Petltlon Fmparer‘s Notr'oe. Declalarlon, and
Signa!rlre (Ollioial Form 119).

 

Under penalty ot perjury, l declare that l have read the summary and schedules tiled with this declaration and
that they are true and correct.

x //71 / g x
Signalure of Debtor1 ( Signature of DebtorZ

Dale
MM/ DD / vWY

 

 

CaSe 6219-bk-00329-CC.] DOC 10 Filed 01/30/19

Fill in this intr')rmri|ioii in iili-»iitllj,iv your »11\¢-

oei>r°ri Mark Christopher Kaley

 

Frst Narrre

Debtor 2

MM~ Nllld LB( Name

 

(Spouse, if hing) Frst Name

Mddle N'lil LI§ Name

U““ed male wmer court forma Middie Disrri¢r or i=iarida
Case number 19'00329'6A7

 

(lt knowri)

 

Oflicial Form 107

 

Page 35 of 50

D check if this is an
amended filing

Statement of Financial Affair's for lndividuals Fillng for Bankruptcy ome

Be as complete and accurate as possibte. lttwo married people are filing together, both are equally responsible tor supplying correct
infonnation. ll more space is needed, attach a separate sheet to this lonn. On the top of any additional pages, write your name and case
number Gt known). Answer every question.

leo Dotal|s lbout Your land Shtls and When You LMd l¢|on

 

§ 1. whar is your current marital status?

d Married
a Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNo

n Ves. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

Debtor 1: Dates_behtior 1 Domorz:
,, n _ |“ ,
m Same as Debtor 1
me
Number Street Number Street
To __
City Stale ZlP Code City State ZlP Code
m Same as Debtort
me
Number Street Number Streat
To _
cary state zlP code city ` siaie\§?c:o&?'

; 3. Within the last 8 pars, did you ever live with a spouse or legal equivalent in a oorrmunlty property state or territory? (Community property
states and tem'tories include Arizona, Ca|ifornia, |daho, Louisiana, Nevada, New Mexioo, Puerto Rico, Texas, Washlngton, and Wisconsin.)

MNo

n Yes, Make sure you till out Schedule H: Your Codebtors (Otticia| Form 106H).

 

m£xplaln the sources of your income

nm-:-i r~-.... u\~r

'-A_._.___. _¢ r-:____=_r .u_=__ ¢__ r__r:._-J.._r- r:»:.._ ¢__ n__l.._._a-..

_Dlw$ mut)|' 2 :

n Same as Debtor1

F rom
To

a Same as Debtor 1

From
To

Case 6:19-bl<-00329-CC.] DOC 10 Filed 01/30/19 Page 36 of 50
umw Mark Chn`siopher Kaley case t (,,,_,,,,,)19-00329-6A7

Fnt Name M`\dde Name Lax N'ne

 

 

4. Did you have any income lrom employment or from operating a business during this year or the two previous calendar years?
Fi|| in the total amount of income you received from all jobs and all businesses including part-time activities
ll you are liling a joint else and you have income that you receive together, list it only once under Debtor i.

n No
U Yes. Fiii in the doiaiis.

n _ ;

Sourcnutincomc _ _Grouincome y sourceseriireome ~ Gioediru~.orr»

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excusth a f axelusnns) b _

a Wages.commi§ions. 11300_00 n Wages,commissions,

From January 1 of current year until bonu“£' ups $ bonuses' ups $

 

 

the date filed for bankru :

you v y moy … ul vC>'perutinga husiness w W w ` 7 _ m Operoting a business

For last calendar year g Wag°s'°°'“"‘issi°"$» a Waaes.°°mmssiol\$' ` .
' bonuses, tips 5 22,140.00 bonuses, t'ps $

(Januaryi w Deuember 31 .ZQWJ_B ._ ) El operating a business El operating a business

For the calendar year before that: g Wag°s' °°,""'“ssi°"s' n Wag°s' °°_'“"issi°"$'
bonuses, tips s 23,728'00 bonuses. ips $

(January 1 to December 31,§$¥1¥7 ) El operating o business ____ U operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of otherinoome are alimony; child support; Socia| Security,
unemployment and other public beneiit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings, lf you are nling a joint case and you have income that you received together, list it only once under Debtor 1,

List each source and the gross income from each source separately Dc not include income that you listed in line 4.

g No
El Yes. Fiii in me details

 

 

 

 

 

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ominonoiuw. “"~*';*°‘"‘=¢ " codutonouo. ` “¢“W o
eime ; v " ` , _ axdusions)' j
From January 1 of current year until -__~__ $______.__._ _-~_ $
the date you tiled for bankruptcy: s $ :
For last calendar year: $ $
(January 1 to Deoember 31,2018 ) $ $
ww ,
5 s ¢,
For the calendar year before that: $ $ §
(January 1 to December 31 ,2017 ) $ $ l

Yva $

 

Az_i-i r-__. ¢n~ nn_.___._. _¢ l-=.____:_. -¢¢_:__ ¢__ ¢_.d:..:.¢._-r_ r=r=__ ¢-_ r\___r.....__._..

____ n

 

 

weiner

Case 6:19-bk-00329-CC.] DOC 10 Filed 01/30/19 Page 37 of 50

newa Mark Chri§qrmir Kaley
Frs Name Midde Name Lnr Nlr\e

 

Case nunber a mm 19'00329'6A7

List certain Paymon|s You lode Bolon Vou Fllod for Bankruptcy

f 6. Are either Debtor 1’$ or Debtor Z’s debts primarily consumer debts?

Cl No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are detined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily fora personal, family, cr household purpose.'

During the 90 days before you tiled for bankruptcy, did you pay any creditor a total of $6,425* or more?

U No. soto line 7.

El Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not indude payments for domestic support obligations such as
child support and alimony Also, do not include payments to an attorney for this bankruptcy wse.

’ Subjeot to adjustment on 4/01/19 and every 3 years afrer that for loses tiled on or after the date of adjustment

g Yes. Debtor 1 or Debtor 2 or both have prinarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

g No. Go to line 7,

n Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor_ Do not include payments for domestic support obligations such as child support and

alimony. A|so, do not include payments to an attorney for this bankruptcy case_

 

 

 

 

 

 

 

 

 

mud fmiomomtvnid _ mmyoosurrm ` . _wnmkpaymr¢ror...
$ $ ..
Creditors Name m ° °
a Car
Number Street n Credit card
n Loan repayment
n Suppliers or vendors
cry ‘ 7 stare zlP cone n O"‘°'
n $ 5 n Mortgage
creditors Name
m Car
meérismf ix j j Cl credit card
n Loan repayment
ii ` ¢\ ` j m Supp|iars orvendors
city stare zlP code a ether
s s g
Credltors Name a a
n Car
Number Street n cred" card
m Loan repayment
cl Suppliers or vendors
Ciry Stars ZlP code m othe'

 

 

ns=_=_l r-_..... ~~-r

n._._.._.._¢ _¢ r=____:-n -n_:,_ ‘__ -..J=_.:.r..

r:»:.__ ¢__ n__.__.___._,.

____ -»

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Deb,°,, Mark Chn`stopherKa|ey ease ~ ‘,,,m,,,19-00329-6A7

Fl'd Name Mdde Name iad Nlne

 

 

y 7. Within 1 year before you liled for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

` /ns'dels include your relatives; any general partners; relatives of any general partners; partnerships ol' which you are a general partner;
corporations of which you are an omcer. director. person in contro|, or owner of 20% or more of their voting securities; and any managing
agent, induding one for a business you operate as a sole proprietor 11 U.S.C. § 101. include payments for domestic support obligations
such as child support and alimony. §

uNo

n Yes. List all payments to an insider. § §
Datemr Totalamount ~ An\ou¢\tyou¢ll munforwpayment…

 

 

 

 

 

 

 

mm paid

$ $

lnsider*sName
Number Sreet §
§
a
ciry 4_` "?até'izu>`code\ §
$ $
Fisiders Namé j ;,
Number &reetwi
city scm ziPcoae "

 

 

 

s. Within 1 year before you hled for bankruptcy, did you make any payments or transfer any property on account ot a debt that benehted
§ an insider?
include payments on debts guaranteed or assigned by an insider.

 

 

 

 

 

 

 

 

 

 

 

g No
El ves. usa an payments that benemed an insider
hauser fatalamount horowitli /Reloon.ror¢irlspayment w
nw m 'm’ § lmmauedi\or.'smme
§.__,,t__`____..._…_¢___._…»_ “_. _
|nsidersName $ $ §
Number street \ * j
City State ZlPCode
$ $
|nsrdersName
Number Sreet
… ,Q’!Y, t s t S'=’L~_Z'F’C£d€, wl t ___ , , s , ,_,,

 

 

»-\=_=_r »-___ an- ~_¢____a _¢ r=____=_r ¢u_a-_ x_- ¢....n:._-a.._¢- r-=¢=.... ¢__ n_._¢,__.-a_.,

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centum Mark ChristopherKaley case - ¢,,,,,,,,,,19'00329'6A7

Fir¢ Name Midrle Name l.ad Nlne

 

ldontlfy Loga| Actiorrs, Ropossossions, and Fonclosums

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

9_ lMthin 1 year before you tired for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding? y
List all such matters including personal injury cases small claims actions. divorces, collection suits, paternity actions, support or custody modifications
and contract disputesl
m NO
H' Yes. Fill in the derails.

me or the case § conn or agency status or the can
Forec|osure ‘ N- ~ - -
§ inth Circuit - FLorida Courl _ 5
Case tmawof___Neka_v-'___ y;Court Name_§§ § i~§ n Pe"d|ng
f U on l
Mark Kaley, et. al. S. Orange Avenue ama §
Number Street Col'lDluded §
Case number M'o_ OrlandD FL
city sure zlP Code
… ,,,M… y, Civ'.| .Ehtorcer,he.m Acuon § U.S. D.. .. . ., _ , , t .
. : istnct Court - Middle Dist FL _ z
Casetitlf“_SEC v. Blg App|e. et.al. dm_~~__~#- El Pending
§ n On appeal
l
:,Number Street g Concluded
Case number M '§ Orlando Fl_
ferry stare zip cone
§ ro. Within 1 year before you l"lled for bankruptcy, was any of your property repossessed, foreclosed, gamished, attached, seized, or levied?
i Check all that apply and till in the details below.
g No. Go to line 11.
Cl Yes. Fill in the information heinw.
number me property v _ m value ornreprop_erry
s 7 s x
Creditor‘s Name
Number street 4__* Expl\lrinhatbappen¢d
Cl Property was repossessed
i a Property was foreclosed §
n Propeity was gamished.
ciiy scm zlP code El Property was attached, seized, or |evied.
§§ b¢seril:otneprcperty § § bare § ` value d the property
s
Creditors Name ;

 

 

Number Street ' '

Elv|ii\ *'llf happened

Property was repossessed
Property was foreclosed
Property was gamished, §§
Property was attached, seized, or levied §

 

 

city sane zlP code

`UDDD

 

 

r\n~._:_i i-_..__ ¢n-r ¢u_~____a _¢ r:____:_» .“_;__ ¢__ -__¢:..=...._¢- r:.:___ ¢__ n__..___.__.

Case 6:19-bl<-00329-CC.] DOC 10 Filed 01/30/19 Page 40 of 50
gagnon Mark Christopher Kaley gm numbe,(,,m,,, 1 9-00329-6A7

Fl'd Name Mldde Nlll\e le Nlne

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or nnancial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

ZNo

El Yes. Fill in the details

 

 

 

 

mmmunumwo¢ . ' mm ` mount j
Cl'ed|t°[§$ Name 4 dwva .`"$ w WM”`~‘.(N `N“mmw
$
Number Street
Cl!y S\lre ZlP Code Last 4 digits of account number: XXXX-_ ___ __ _

12. Within 1 year before you med for bankmptcy. was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another ofl'rcial?

g No
l:l Yes

 

List certa|n Gll‘u and Contrlbutiono

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than 5600 per person?

g No
El Yes. Fill in the details for each gm.

 

 

 

 

Gil\ewlthaw\alvelueofmonthm¢ioo Mcrlbetheg|tte `~ _ Dm¢youg'm value~,
§ porpenon , § . § _' media ~ _ i
§ .… se em
$
Person lo Whom ¥ou Give tile Grff
$
Number Sdeet
g C'ty stale zlr=coae
Person’s relationship to you
l enem¢wulvumurmmm'seoo “om`m¢ulepm 4 ' newsweek `valoe`~
,, ,i, ge j $
Pelsonthhom¥ouGavefl'leGift
$

Number Sdeef

Frty" 7 § *stae' T¢;ocsej

 

 

Person's relationship to you

 

,~.=_¢-l r-.._. .,\-» n._.,___e _¢ l-=____:_l -“_=__ ¢__l_..=__-...._'- ¢-:¢=_.. ¢__ n__¢,_._¢-.. ____ n

 

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Debtor 1 Mark ChriStORhGr Kaley Case number ('lm.m) 19'00329'6A7

F'rsl Name Midl.le Name La¢ Ninl

14.within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

ZNQ

n Yes. Fill in the details for each gift or contribution

 

uncommonme mcconnell corrch c _ ’ y ~~ umw \ valley
nut m m m mo _ ~ , , ` y timm / '
z $
crews Name
§ s

z Number St:eet

City Sfafe ZlP Code

 

mcman

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

ENo

C| Yes. Fill in the details

t

omMmeorop¢uyrwlmm Mmmmémmg¢mnems ' v ` morrow ~ valuegr`pmpmy’
hondieiocsoccureo t mea twin hap-dm inn l , lost
y claimenrne$aof$modmwvl}:?roporry.

 

f i
l , l

 

m.kr§ certain P§aymont§s§ or Tr§ane§fo§rs§

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankmptr:y petition?
include any attomeys, bankruptcy petition preparers, or credit oounmllng agencies for services required in your bankmptoy.

n No
U Yes. Fill in the uecalls.

 

beseoptionandva\ueoicnypmpertyverricncc ` Bat_cpeyrnentor Arnowitofpc§ymeo
Person Who Was Pald m
Number street § j $
$

W i§ `§ \§S\B§ §M§é§`

Emal| or Moslte address

 

 

 

Person Who Made the Payrrlent, if Nat You

 

nm-:_l r-_,__ env na-c-__._. -¢ r-:_._._-:_r »“_:__ ¢__ l-.-=._-a.._r- '-:r=__ ¢_- r\-._r._.-._.. ____ -v

 

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Debim Mark ChristoLher Kaley case number (,,,,,,,,,,,, 19-00329-6A7
F'li Name Wde Nlmk Lid Nilla
cessnpeonmdvaiucaranypropenymnsrerred 1 Dacpaymentcr Arnou_n_r¢'x'

variach was made payment

 

Person Who Was Pa|d

Number Street

ciiy exam ziP code §

§Email or websitie address

Perscn Who Made the Payment if Not you

 

17. Within 1 year before you med for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you ||sted on line 16.

g No
Ei Yes. Fiii iii the deiaiis.

 

omnpuonmmuwranypmpa¢yommaa . : f panama merriam
ii `§ ii ii j j j _ made ~
PersonWhoWasPaid § §
Number street z § $

§ §
i*i§i j §"_( § § $
city ante zipcoae § §

 

18. lMthin 2 years before you filed for bankruptcy. did you se|l, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement

g No

E| Yes. Fiii in the details

 

Deecriptionandmlueofproperty § Deserlbelll?prbwnyorpayrnentsrecelved _ vacuum
transferred ~ ~ ordebtspaidlnexchange _ wasmade

 

Perscn Who Received Transfer

 

Number Street

 

§ city stare zlP code

 

Person s relationship to you

Parson Who Received Transfer

Number Street

 

 

 

 

City Stale Z\P Code 114 _ __
Person’s relationship to you

r\¢=_=_i r_._. arm ¢~._.-___._. _¢ r=.____=_¢ -“_=__ ¢__ ¢_a;._-.l.._-_ r=l:__ ¢__ n__.._..._.-.. ..-_- n

 

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Deb,o,, Mark ChristopherKa|ey ease » (,,,,,,,,,,,19-00329-6A7

Fra Name Mldd¢ Nlmo us Nm\o

 

§ 19. Within 10 years before you filed for hankruptcy, did you transfer any propertth a self-settled trust or similar device of which you
z are a beneficiary? (These are often called asset-protection deviaes.)

No
El Yes. Fm in the details

Wdeuonmdmdnearopmymmd 5 1 maxim `
' ~ ~ ' was'mede

 

Name oltnlst

 

 

WW.FWMIMMMOMIM“IWUMN

20. Within 1 year before you died for bonkruptcy, were any tinancial accounts or instalments held in your name, or for your benetit,
closed, sold, moved, or transferred?
lnc|ude checking, savings, money market, or other financial accounts; certificates of deposit shares in blnks, credit unions,
brokerage houses, pension funds, cooperatives associations and other financial institutions

uNo

Cl Yes. Fill in me dewils.

mtwsganrmmnunw momar,- oman : ,umwl¢n¢ewm
' _ ~ y _ mcnamara ,, _ closed,uom,m¢mu. downtown

 

 

Name of Flnancial institution
‘ XXXX-___ _ _ _ Cl checking 3
W__`___ cl Sa\""gs
a Money market
n Brokerage
cl\y state zlP code n other
xXXx-__ _ _ _ |:l checking 5
Name of Flnam:la| |nstltutlon ____
n Savlngs
Number Street u Morl¢y mlrke|
n Brolierage
L_.l other

City S!Hte ZlP Code

21. Do you now have, or did you have within 1 year before you hied for bankruptcy, any safe deposit box or other depository for
securities, cash, or other vaiuables?

g No
El ves. Fill in the detai\s.

 

 

Who'slsohadlecmtolt? : Ducnbetmcomm ' : ~ purview
’ . ` r,_wwww,_ Wmmw _*_m___r'_;n_' ’ ________ itin it?
§ n No
_________ §
Name of Financia| institution Name § n Yes
_____________ §
Number Street Number sum §
§
C|ty m ZlF Code §
cny some zlP code

 

 

nm,;-- ¢-_.._. » nw r-....._____. -s »-:.__._-=_n -“_=.._ ¢_.. l...n..-.¢.._l- r;.=_.. ¢-.. n_._..._._¢__, _--_ n

 

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owen Mark Christopher Kaley case nur.,¢,@,(,,,¢,,¢,,,,,,19-00329-6A7

Fr§ Name Midda Name La§ Nzne

 

zz.t-lave you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
g No
El ves. Fill in the details

 

 

 

monmameocemmm» mcnamara : ~ ~oeyounlll

` ` ' have lt? g

l l :

§ § n Na 1'

Name of doran Facility Name § i cl Yes §
Number Street Number &reet l

 

 

cnysen zlp cwa z

 

Cil¥"" f State ZlP Code

     

ldontltyl*roporty¥outloldor¢ontrolforlolnoonolbo

23. Do you hold or control any property that someone else owns? lnclude any property you borrowed trom, are storing tor,
or hold in trust for someone.
g No
El Yes. Fill in the details

 

memoranda , ' 1 o§¢huehr'm § _ value

Owner's Name § $

 

 

Number Street
Number Street

 

 

C|!y Slata ZlP Code

 

C|ty Sdte ZlP Code

m leol\oltollshboutlnvlronn\ontollnhr'\atlon

 

For the purpose ot Part 10, the following delinitions app|y:

" l Envlronmenml law means any tederal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic subdances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances wastes, or material.

 

l Site means any location, lacility, or property as delined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar tenn.

l

§ Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. I-las any governmental unit notllied you that you may be liable or potentially liable under or in violation of an environmental law?

ENo

El Yes. Fill in me details.

 

 

 

 

 

Govemmentaliailt Envlronmentatlavr,lyoukmwtt _ Dateofnotice
l
Name of site Govemmental unit
Number street Number .-~.-..M.»..`.s..-,....<._ ..,.. .…¢.__.`__.,_-.-~..W_.__...._.s__._._

 

city sum zll»coce
clly since zlP cma

~a=_=_. r-_.._. ~r\-' ¢~¢_.____a _¢¢-:____:_\ - ¢__¢_ -- - - r=-=__¢_,r\ . ____ an

 

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Debto, 1 Mark Christopher Kaley case numbe,(,mm19-00329-6A7

Flr§ Name Midlln Nlrlle La§ Nll\lt

 

 

25. Have you notined any governmental unit of any release of hazardous material?

gNo

El Yes. Fill in the details

 

 

 

 

 

 

 

summit-mut enmmnlem»,uyoumle medium `
Name of site Go\lemmenta| unit
Number Stroet Number Street

Cify Stat¢ zcho¢le

C|ty Sdlte ZlP Code

26. Have you been a party' ln any judicial or adniniStrative proceeding under any en\n`lonmental law? include settlements and orders.

a No
El Yes. Fill in me delalls.

 

 

 

 

 

conneraqm¢y uncommon , mwn"’f".""~
Case title z
counName § m pmle
n On appeal
Number street .` j U Com:luded

Case number ci¢y ' sun zchode

leoltotollohbout¥ourloolnoooor¢o¢nootlonotolnyluolnooe

27 Within 4 years before you filed for bankruptcy, did you own a business or have any ofttle following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity. either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
cl A partner in a partnership
cl An ofticer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

g No. Nane or me above applles. so lo Part 12.
n Yes. Check all that apply above and till in the details below for each business.
`ouullnmnnuridmem\us f » ~ employ-umw
` " Donetinclllla$otidhcurlynunherormtt.

 

Buslness Name

 

 

 

 

ElN' ___ _ - _______
Number Street
minedequ ` l Dale$onateeesemwd' `
l
From To
Mideotllellien motel

 

 

mmr-_____ e-._.__

Number Street

 

 

 

 

Clty m ZlP Code

 

r\n-.,=_l r-___. an-r au_a_____. -: r:_-_..=-c »n_=__ a-.. l_.»:._»a...n_ r=-:__ a_-r\__l._.._z__. ____ aa

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named Mark Christopher Kaley Case r,u,,\,,a,(,,,¢,,c,,,",19-00329-6¢>\7
Frl Name Midde Nlrle La§ lee
Descrlhe the named theman E'”MMWM .
~,M~ Donutlrlclme$octil$wumynlmherorl?m.

Business Name

ElN' ___ __ - _______
"`"'""' S"`°` wldequ ’ l ' ammermaqu

From To
El’y_`__`_m

 

 

 

28. Within 2 years before you ii|ed for bankruptcy, did you give a iinanciai statement to anyone about your business? include all hnanciai
institutions, creditors, or other parties.

ZNo

El m Fill in the details below.
m mm

Name m

Number S|'I€t

Ci!y Stlh ZlP Code

m--~--

l have read the answers on this $tatemerrt of Flnan¢:lal All'alrs and any attachments and l declare under penalty of perjurythat the
answers are true and correct. l understand that mailing a false statement, concealing property, or obtaining money or property by fraud
in connection with a bank can result' ln lines up to 3250,000, or imprisonment for up to 20 years, or both.

   

slgnalureM < / signature or senior 2

Date ¢2 Zz¢/? Date

Did you attach additional pages to Your Smtement of Finanr:lal Ai|airs for Individuals Filing for Banknrptl¢:y (Ofiiciai Form 107)?

MNo

D Yes

 

 

Did you pay or agree to pay someone who is not an attorney to help you till out bankruptcy forrns?
is No

m Ves. Name of person . Attach the Bankruptcy Pen'iion Preparer’s Notice,
Deoiaration, and Signature (Ofticia| Form 119).

 

 

 

A¢_:_- l-___ .»-\~» n._¢_.___._. _.- -=.____=_l _u_=__ ¢__ ¢_J=..=.¢.._l_ r=l=__ ¢__ n__\._.._._.. ____ an

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Fl|l ln this mla,rm¢'\!mn m lrlentlly your case

manion Mark Christopher Kaley
FmNm

Mdd|e Nine

Debtor 2
(spouse, ir filing) Fm mm male umw ms mm

 

Unitad States Banlrmptcy Caurt iorthe; Middle DiS!rid Of Florlda

casen..mber 19-00329-6A7 El check innis is an
‘"“"°‘"'" amended filing

 

 

Official Form 108
Statemer\t of lntention for lndividuals Filing Under Chapter 7 ms

lf you are an individual filing under chapter 1, you must till out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

‘Iou must me this form with the court within 30 days after you tile your bankruptcy petition or by the date set for the meeting ol' creditors,
whichever is earlier, unless the court extends the time for cause. Vou must also send copies to the creditors and lessors you list on the fonrr.

 

lt two married people are filing together in a joint case, both are equally responsible for supplying correct infom\ation.
Both debtors must sign and date the form.

Be as complete and accurate as possible. lt more space is needed. attach a separate sheet to this form. On the top of any additional pages.
write your name and case number (lt known).

m List Vour Cr\dltors Who I'lavo Soourod claim

 

1. For any creditors that you listed in Fart 1 of Schedule D.' Credltors Who Have Clalms Secumd by Property (Official Form 1060), till in the
infomration below.

idenrirym¢creda_m amunpmperyir»ameouawm ' _wh¢doy»mq»mrwmwrrhuiearoperryum mmmmu»pmp¢ny
_ ' ` ’ securesadebt? _asexernp`ton$ch_edule¢?§:

Creditor’s .
name Natlonstar Mongage n Surrender the property. cl No
' ` " l;l Retain the property and redeem it. § Yes

 

Descrrprion or Primary Residence
Pf°Pe'rtv _ 14924 Gau|berry Flun
Se°"""g debt Winter Garden, FL 34787

d Retain the property and enter into a
Reafiirmatlon Agmement.

Z Retain the property and rexplain]:
rework loan terms

 

 

Cl’€dif°f'$ l:l Surfenderthe property. \;l No
§§D._'§:M

 

` El Retain the property and redeem it. Cl Yes
Descriplion of . .
property El Retain the property and enter into a

se¢uring debt Reafiirmation Agreement.
a Retain the property and [explain]:

 

 

 

 

 

 

 

‘ Cred“,°r`s [;l Surrender the property. E| No
; 939/emits f t ,, m ,, … , , ', _ , , v n Retain the propeny and redeem it a yes
:;;n:;i°n of cl Retain the'property and enter into a
securing dem; ReaMmlatro/r Agreemant_
n Retain the property and [exp|ain]:
: E::;t_°"s m Surrenderthe property. n No
y h /" " ' n Retain the property and redeem it, E| yes
E;:xyh°n of m Retain the'property and enter into a
securing debt: Reaflirrnatron Agnsement,

n Retain the property and [explain]:

 

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fwme NlarK bnl'|SIOanr |'\aley
rim mma Ma¢¢ Name us mm

mt your unexpired Porsonal Froporty Loaaoo

Case number (lfknown) lu'UU'¢Z$'b/'\ /

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contrac|s and Unexplred Leasos (Otfrcial Form 1066),
fill in the information beiow. Do not list real estate leases. Unexplred leases are leases that are still in ellect; the lease period has not yet
ended. ¥ou may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
hese-roe your unexpired percent property leases § v f § f f § Wiltl:he lam be_assumed.? : §
Lessor's name: E| N°
t _ "' w U Yes
Descnpt\on of leased
z Pl°perfy!
Lessor’s name: Cl No
§ Description of leased a yes
§ Pl'°PelWi
Lessor’s name: a No
oescriprion of leased Cl Yes
properry=
Lessor‘s name: a N°
. `,,,W,,. _ ~¢.¢,¢Y~e…..,..»,;¢.¢, n Yes
Description of leased
PmPe'fl/i
Lessor’s name: |;| N°
t , , ,, ..._'/_ ,e, ~,,,,,.,,..'_,r., , ,,., , y ,,. . ....._'e _»….¢,. ,,,e,l, ,',._»., _,l .~ m. ….~..~.' 'l. /'. ~» .4 ¢__.A_,…/.»n.»~o_~,..,`,_., n Yes
Description of leased
PV°P€'tYi
Lessor's name: g No
’ " ElYes
Descnpt\on of leased
Fr°Peftl/?
Lessor’s name: n N°
d m ` n Yes
Description of leased
property:

 

Under penalty of perjury, l declare that l have indicated my intention about any property ot my estate that secures a debt and any
lease.

personal property that i subject t

x /_

  

 

   

Signature of Debl

Date

 

Signature of Debtor 2

Da'le

MM/ DDI VYVY

 

 

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centum Mark Christopher Kalev

Nd|l: llfe`ddb Nlil€ LI§ Nlm¢

g 1. There is no presumption of abuse. '

Debtor 2
(Spouse, ll filing) Flrst Name male Name

 

0 2. The calculation to determine ii a presumption of
abuse applies will be made under Chapter 7
Means Test Calculatl'on [Ofticial Form 122A-2).

n 3. The Means Test does nol apply now because oi
qualitied military service but it could apply later.

United States Banknlptcy Cnurt for the: Mlddle District of Florlda

Case number 19'00329'6A7

(lf known)

   

 

n Check ifthis is an amended filing

Ofl”lcial Form 122A-1
Chapter 7 Statement of Your Current lll|onthiy income 12/15

 

Be as complete and accurate as possibie. lftwo married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this fom\. include the line number to which the additional infomution applies. On the top of any
additional pages. write your name and case number iii known). if you believe that you are exerrq)tled from a preemption ot abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and tile Smtement ofExemption trom Prasumption of
Abuse Under § 707(|»)(2) lofficiei Form 122A-1Supp) with this torm.

Caiculate Vour current monthly income

 

1. What is your marital and filing status? Check one only.
n Not married. Fill out Co|umn A, lines 2~11.
g Married and your spouse is filing with you. Fill out both Co|umns A and B, lines 2-11.

g Married and your spouse is NOT filing with you. ¥ou and your spouse are:
§ Living in the same household and are not legally separated. Fill out both Co|umns A and B, lines 2-11.

n Living separately or are legally separated Fill out Co|umn A, lines 2-11; do not flli out Co|umn B_ By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U S C § 707(b)(7)(B).

yt=llitrrttulaverarlemoutt\tyincomelhatyoureceivedhomelaourcee,derivedduringthe\hllimonthsberoreyoutilettas t
/Mcycaeej 11 03.<:.§161(1011\).Forennme,§wuamhmgmsememmrt§ theoanonthpeliadwouldbemrdr 1 through
' Augustst lttheamountofycurmonthlymcomevariedduringttleemomhs addmemcome¥orall$rnonthsamdmdethetotetby& ,
` »Fillinthereeult. Donotincludeanyinbomamoun_t moletnanonce. Forexample,ltbothspoueaaoumlhesame retrial property, putthe
incometrcmthatpmpertylnonecolumnonty. |¥you have nothlngtorapoltforanyline. write$liinthespace'

Cclunm A ' Calumn 31 ~'
Bet!tor ‘i ' Debtor Z'or
` nochqu sparse
2. ¥our gross wages salary, tips, bonuses, overtime, and corrl'nissions
(before all payroll deductions). $_LWO $_LB_Q~QO
3. Aiimony and maintenance payments. Do not include payments from a spouse if
column a is lllled ln. $_0'00 $_0~00

4. A|| amounts from any source which are regularly paid for houseth expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your househoid, your dependents parents.
and roommaies. include regular contributions from a spouse only if Co|umn B is not
ii||ed ln. Do not include payments you listed on line 3.

$ 750.00 5 0.00

5. Net income from operating a business, profession, comm mr 2

 

 

 

or farm

cross receipts (befone all deductions $ $_

Ord`lnary and necessary operating expenses - $ - $

Net monthly income from a business, profession, or farm $ 0.00 $ O. ____OO:e°:;y_) 3 U.OO 5 0.00
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $ $

Ordlnary and necessary operating expenses - $ - $___

 

Net monthly income from renta|orotherreal property $_ ()_OO $_ OOO:::;y.) $____ O_OO $ ll_§l!)
7. lnleresr, dlvldends, and royalties s ' 0.00 s Q.Qp

 

 

 

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canon Mark §§hristgglher:eKaley case numberm,.,~,., 19-0032 -6A7

I§Nam e la§ Nllie

Gofomn A column 8 y ~
Debtor 1 Debtor 2 or '
non-nling spouse
B. Unemployment compensation 3 D.OO 5 O. 00

Do not enter the amount if you contend that the amount received was a benefit
underthe Social Security Act. lnstead, list it here: .

For you

 
 

For your ‘v,_muse 5 0.00

9. Pension or retirement income. Do not include any amount received that was a
benetit under the Social Seourity Act. $ 0.00 $ 0.00

10. income trom all other sources not listed above. Specify the source and amount
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. lt necessary list other sources on a separate page and put the total below_

0.00 $ 0.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ 0.00 $ 0.00
Total amounts from separate pages, if any. + $ 0.00 + 5 0.00
11 . Ca|culate your total current monthly income. Add lines 2 through 10 for each + _
column. Then add the total for Co|umn A to the total for Co|umn B. $ 2,385.00 $ B0.00 _ $ 2,465.00
Total current
mommy income
m determine Whether the |Ieane Teet Apptlee to Vou
12. Calculate your current monthly income for the year. Follow these steps:
12a. Copy your total current monthly income from line 11. Copyllne 11 hera') $ 2 465.00
Multiply by 12 (the number of months in a year). x 12

1Zb. The result is your annual income for this part ofthe form. 12b.

13, Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you |ive. FlOl’ida

Fill in the number of people in your househo|d.
Fii\ in the median family income for your state and size of household 13. s 85,353.00

To tind a list of applicable median income amounts, go on|ine using the link specified in the separate
instructions for this form. This list may also he available at the bankruptcy clelk’s oftioe_

 

14. How do the lines compare?

14a - Line 12b ls less than or equal to line 13. On the top of page 1, check box 1, There is no presumption ofabuse.
Go to Part 3.

14b. Cl Line 12b is more than line 13. On the top of page 1 , check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and lill out Form 122A-2.

@.... ,...w

 

By signing here l declare unde penalty of perjury that the information on this statement and in any attachments' is true and correct

x// x

Signature o Debtor 1 Signature of Debtor 2

Data/M Da‘te

   
 

MM/DD /‘IYY¥

lf you checked line 14a, do NOT fill out or tile Form 122A-2_
lf you checked line 14b, hli out Form 122A-2 and tile it with this forrn.

 

 

 

